Case 0:16-cv-62215-WPD Document 101-8 Entered on FLSD Docket 07/18/2018 Page 1 of
                                     118


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                                       Tax ID #XXX-XX-XXXX
                                               April 4, 2018

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                       RE: JEAN SUAREZ v. CITY OF HOLLYWOOD, et. al.
                              USDC Case no.: 0:16-CV-62215-WPD



                                               Introduction


         I am a board-certified emergency department physician with substantial experience in

 sudden cardiac arrest, as well as in-custody death and Excited Delirium Syndrome (ExDS). I am

 also an independent researcher on the physiologic effects of TASER Electronic Control Devices

 (ECDs) on humans. My qualifications are further delineated at the end of my report.

         I have been retained as an expert to review relevant materials and provide expert opinion on

 this matter, including the state of the medical and scientific literature as of the date of the incident,

 October 27, 2014, and today, and to consider and render expert opinion on whether the arrest and

 restraining process and use of the TASER ECD, were contributory to Mr. Daniel Tyson’s death.

 After careful review, it is my opinion to a reasonable degree of medical certainty that Mr. Tyson’s

 cardiac arrest was not caused by the arrest and restraining process by the officers or the use of the

 TASER ECD, but rather from Excited Delirium Syndrome and his severe coronary artery disease

 combined with his exertional resistance. These opinions and related opinions are set forth in the

 expert report.
Case 0:16-cv-62215-WPD Document 101-8 Entered on FLSD Docket 07/18/2018 Page 2 of
                                     118




                                         Materials Reviewed
         I have reviewed extensive materials pertaining to the above referenced case. This includes,

 but is not limited to:

                                         Case-Specific Materials

          1.     Complaint
          2.     Medical Records from Memorial Regional Hospital
          3.     Billing Records from Henderson Behavioral Health
          4.     Henderson Mental Health Center Medical Records
          5.     Medical Examiner's Property Receipt
          6.     Medical Examiner's Report
          7.     Hollywood Fire Rescue
          8.     Autopsy Report and Records
          9.     Autopsy Photos
          10.    Officer's Statements
          11.    Hollywood Police Department Incident/Investigation Report
          12.    Hollywood Fire/Rescue & Beach Safety Dept. Ambulance Record
          13.    Interview with Lesmarie, Xavier
          14.    Statements of Officers Ramirez & Pantaloukas
          15.    TASER Certification for Alexis Ramirez
          16.    TASER Downloads for Alexis Ramirez
          17.    Witness Interview with Christine Corb
          18.    Police – Fire Communications Division Records
          19.    Exhibits to Incident Report
          20.    Plaintiff’s Expert Witness Disclosure Dr. Mark Shuman
          21.    Plaintiff’s Expert Roy G. Taylor, MS
          22.    Use of Force & Injury Article
          23.    Videotaped Depo of Officer Andreas Pantaloukas
          24.    Toxicology Report




                                                   -2-
Case 0:16-cv-62215-WPD Document 101-8 Entered on FLSD Docket 07/18/2018 Page 3 of
                                     118

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Case 0:16-cv-62215-WPD Document 101-8 Entered on FLSD Docket 07/18/2018 Page 4 of
                                     118

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                                                 -4-
Case 0:16-cv-62215-WPD Document 101-8 Entered on FLSD Docket 07/18/2018 Page 5 of
                                     118

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                                      Overview of Opinions
                       (all opinions within this report are to a reasonable
                            degree of medical or scientific probability)

       An overview of my opinions is as follows with more description of each below:


    1. The restraining process did not cause the sudden cardiac arrest and death in Mr.

                                                -5-
Case 0:16-cv-62215-WPD Document 101-8 Entered on FLSD Docket 07/18/2018 Page 6 of
                                     118

        Tyson.

    2. The use of the TASER ECD on Mr. Tyson did not cause or contribute to his cardiac
       arrest or death.

    3. Mr. Tyson was exhibiting signs and symptoms consistent with excited delirium
       syndrome (ExDS), which along with his severely diseased heart and continued exertion
       from resistance, is the probable cause of his sudden cardiac arrest and death.




                                               Analysis



        After reviewing the above listed materials, it appears that on October 27, 2014 in the early

 afternoon, a neighbor observed Mr. Daniel Tyson in an agitated state speaking to a woman visiting

 his apartment. He was later seen naked on his balcony conversing with the air, trees and walls. The

 neighbor and landlord then contacted the police and reported that Tyson suffered from mental

 illness. Officer Alex Ramirez responded and found Mr. Tyson at that time wearing only an open

 robe with no other clothing exposing himself. Officer Ramirez told Mr. Tyson that he could not be

 naked in public. Mr. Tyson was 30 years old at the time, was 5’8” tall and weighed 220 lbs.

        Mr. Tyson was mumbling random words and then started throwing items off of the balcony.

 Mr. Tyson removed his robe and grabbed a sundial off the wall and went down the stairs. Officer

 Ramirez warned him to stop or he would use his TASER ECD. Mr. Tyson continued to approach,

 and Officer Ramirez then discharged his TASER ECD on Mr. Tyson. The TASER ECD was not

 effective, and Mr. Tyson continued to charge towards Officer Ramirez and hit him in the head with

 the sundial. Officer Ramirez then brought Tyson down to the ground and other officers arrived to

 assist. Officer Pantaloukas was the next to arrive and after being unable to assist Officer Ramirez

 by controlling Mr. Tyson’s legs, implemented his TASER ECD to the lower back of Mr. Tyson. The

 TASER ECD was initially used in probe mode but was not effective. Officer Pantaloukas then used



                                                  -6-
Case 0:16-cv-62215-WPD Document 101-8 Entered on FLSD Docket 07/18/2018 Page 7 of
                                     118

 the TASER ECD in drive stun mode to the ankles. Mr. Tyson continued to fight and struggle

 throughout. Eventually, handcuffs were placed as were leg shackles. Even after these restraints

 were placed, Mr. Tyson continued to fight and struggle. The total estimated time of struggle was six

 minutes and thirty seconds. Several minutes later, Mr. Tyson became calm and quiet and then the

 officers realized that Mr. Tyson was unresponsive and not breathing.

        Paramedics were already on scene and treating Officer Ramirez’s injury when they were

 summoned to evaluate Mr. Tyson. He was found to be in cardiac arrest and the paramedics provided

 lifesaving medical therapies, however Mr. Tyson could not be resuscitated and was transported to

 Memorial Regional Hospital in CPR status. While in the emergency department, resuscitative

 efforts were continued, but there was never a return of spontaneous circulation and he was

 pronounced dead at 1537.

        The medical examiner performed an autopsy and noted that Mr. Tyson had a history of

 psychiatric illness and had severe arteriosclerosis as well as a congenital disorder involving the

 cardiac conduction system, either condition could lead to cardiac arrest. Marijuana was found in Mr.

 Tyson’s blood. Given this history, there are a number of issues that need to be addressed in more

 detail below. All opinions given are to a reasonable, or higher, degree of medical probability based

 on the information currently available.



                              Detailed discussion and basis of opinions


    1. The restraining process did not cause the sudden cardiac arrest and death in Mr. Tyson.

        During the period that Mr. Tyson was being handcuffed, he was being held in a position

 with a certain amount of weight placed on him initially to gain control over him. During this time,

 he was reported to be yelling, breathing and struggling and without any reported evidence of

 respiratory or ventilatory difficulty. He was not reported to complain of shortness of breath or


                                                   -7-
Case 0:16-cv-62215-WPD Document 101-8 Entered on FLSD Docket 07/18/2018 Page 8 of
                                     118

 difficulty breathing.

           The weight force used on Mr. Tyson was described as follows: Officer Pantaloukas reported

 that he placed his right knee on the muscular portion of Mr. Tyson’s left shoulder blade. He noted

 that despite his knee being on his left shoulder blade, Mr. Tyson was still able to lift his upper torso

 off the ground. Officer Pantaloukas then placed his right hand on Mr. Tyson’s right shoulder blade

 and later removed his right hand from his shoulder blade but maintained slight pressure with his

 right knee. Officer Ramirez reported wrapping his arms around Mr. Tyson’s upper body and was

 able to bring Mr. Tyson’s right arm towards his back. Officer Kerns assisted pulling Mr. Tyson’s

 arm back and handcuffing. Officer Pantaloukas then shifted his weight to Mr. Tyson’s legs after the

 handcuffs were placed while awaiting Officer Kerns to return with the leg shackles. Beyond these

 positions, it was reported that there was nobody physically on top of Mr. Tyson during the restraint

 placement. After he was cuffed and shackled the only officer in contact with him was securing Mr.

 Tyson’s left arm to keep him in a prone position with only enough pressure to keep him controlled

 but without pain.

           The majority of the weight force was not on Mr. Tyson in such a position that would have

 created the potential to limit ventilation. The weight placed on the right shoulder while cuffing

 would not significantly limit ventilations enough to cause asphyxiation nor would holding the upper

 torso and pulling out the arm. Weight on the legs or holding the arm would have no effect on

 ventilation or breathing. Research using up to 220 lbs. of weight on a subject’s back has not shown

 to cause physiologic changes that would imply asphyxiation is even possible with that amount of

 weight.

           The fact that Mr. Tyson continued to struggle and resist even after the restraining was

 complete, demonstrates that this could not be an asphyxial death. Asphyxiation does not occur in a

 delayed fashion. If the weight force by the officers impacted Mr. Tyson’s ability to ventilate to




                                                     -8-
Case 0:16-cv-62215-WPD Document 101-8 Entered on FLSD Docket 07/18/2018 Page 9 of
                                     118

 point of causing a cardiac arrest and sudden death by asphyxiation, the ventilations would have had

 to be restricted long enough to where blood oxygen levels would drop because there was not

 enough oxygen getting into Mr. Tyson’s lungs. When this occurs, the low blood oxygen levels will

 cause the heart to become irritable and eventually slow and then stop and the subject goes into

 cardiac arrest. This would be evident at the time the weight was removed if the position and weight

 force was responsible for asphyxiation – he would be lifeless at this time. This was not the case

 with Mr. Tyson. Asphyxiation does not happen in a delayed fashion because once weight is

 removed and ventilations are restored, the subject will quickly return to normal oxygen levels in the

 blood. In this case, Mr. Tyson was breathing and struggling well after he was restrained, thus could

 not have been asphyxiated.

         Finally, the end-tidal CO2 noted by paramedics when they arrived was low at 22 mm Hg. If

 Mr. Tyson had been asphyxiated by the restricting of chest wall movement due to weight and

 compression, he would not have been able to ventilate and breathe out carbon dioxide (CO2). Over

 the time of asphyxiation, he would have built up high levels of CO2, the earliest clinical indicator of

 asphyxiation. This would have led to a buildup of CO2 in the lungs and when the paramedics

 started ventilating him with the breathing tube, the end tidal CO2 that they measured would have

 been extremely high. In the case of Mr. Tyson, the end tidal CO2 levels were low, which is not

 consistent with asphyxiation. The low CO2 levels at the time of initiating ventilations are

 consistent with a cardiac arrest not related to ventilatory failure, but rather cardiac arrest, the heart

 stopping.

         Given that Mr. Tyson was alive and resisting before, during, and after the restraining, and

 that the cardiac arrest occurred suddenly later in time, the effort to restrain and handcuff him did not

 cause or contribute to Mr. Tyson’s death. Nor is there any evidence that he was asphyxiated based

 on the officers’ positions and particularly, but not solely, based on the end tidal CO2 levels. There




                                                     -9-
Case 0:16-cv-62215-WPD Document 101-8 Entered on FLSD Docket 07/18/2018 Page 10 of
                                      118

  is no evidence that position, restraint or body weight caused or contributed to Mr. Tyson’s death.




     2. The use of the TASER ECD on Mr. Tyson did not cause or contribute to his cardiac arrest
        or death.


         There are no peer-reviewed published scientific or medical literature that concludes that

  TASER Electronic Control Devices (ECD), also known as Conducted Electrical Weapons (CEWs)

  and other such monikers, cause cardiac dysrhythmias or cardiac arrest in humans utilized in the

  probe mode or away from the chest transcardiac axis; there is no peer-reviewed literature that

  supports that in the case of Mr. Tyson a TASER ECD could possibly have electrically-induced his

  cardiac arrest or death; and there is a wealth of literature that supports that the TASER ECD could

  not have induced cardiac arrest or death in Mr. Tyson. This means there has never been a reported

  case of sudden death, cardiac arrest, or dysrhythmia from a TASER ECD probe deployment to the

  flank of a human subject. There is theoretical modeling that describes how a TASER ECD could

  possibly cause cardiac arrest over the transcardiac (over the chest) axis with an embedded ECD dart

  with a very close dart-to-heart distance (DTH), but these circumstances are not present with Mr.

  Tyson. In the case of an anterior chest deployment of a TASER probe, the modeled risks of going

  into ventricular fibrillation (VF) are estimated to be 1 in 2.5 million to 1 in 2.87 million for

  ANTERIOR CHEST probe deployments. According to the autopsy report Mr. Tyson was obese.

  Mr. Tyson was 5’8” tall and weighed 220 pounds; which gives Mr. Tyson a body mass index (BMI)

  of 33.4 kilograms per meter squared (kg/m2)(BMI of ≥ 30 is obese). Mr. Tyson had two sets of

  TASER ECD probes used on him. The first set used by Officer Ramirez were located over the

  anterior torso, but had no incapacitating effect and were not used after that one activation. The

  second set of TASER ECD probes were located in his lower back, not close to his heart, or with a



                                                     - 10 -
Case 0:16-cv-62215-WPD Document 101-8 Entered on FLSD Docket 07/18/2018 Page 11 of
                                      118

  very close DTH. And his initial cardiac rhythm was pulseless electrical activity (PEA), not

  ventricular fibrillation (VF). More than 2.2 million volunteer subjects have undergone TASER

  ECD activations, and none have ever been reported to develop sudden cardiac arrest or die. Just

  because a TASER ECD was used in some temporal proximity to a death, does not imply

  contribution or causation to a death.

         TASER ECD downloads reflect that two TASER ECD was used during the incident with

  Mr. Tyson with a total of ten trigger pulls over a six-and-a-half-minute time period. The first was a

  5–second activation by Officer Ramirez in probe mode. This was followed by eight 5-second

  activations and one 9-second activation for a total activation/discharge time of 54 seconds from

  Officer Pantaloukas’ TASER ECD. Activation or discharge does not equate to delivered electrical

  charge to Mr. Tyson. The report reflects that Officer Panaloukas’ first 9-second activation was in

  probe mode and the subsequent 5-second activations were using drive stun. The timing of the ECD

  use is noted in the table below:


                                             ECD discharges

              Taser Time                             Duration          Time Gap
              14:53:26 Ramirez                       5 sec
              14:53:55 Pantaloukas                   9 sec             29 sec
              14:54:05 Pantaloukas                   5 sec             10 sec
              14:54:23 Pantaloukas                   5 sec             18 sec
              14:54:56 Pantaloukas                   5 sec             33 sec
              14:56:15 Pantaloukas                   5 sec             79 sec
              14:58:23 Pantaloukas                   5 sec             128 sec
              14:59:03 Pantaloukas                   5 sec             40 sec
              14:59:29 Pantaloukas                   5 sec             26 sec
              14:59:56 Pantaloukas                   5 sec             27 sec


         For an ECD to deliver a charge to the person, the electrical circuit must be completed and



                                                   - 11 -
Case 0:16-cv-62215-WPD Document 101-8 Entered on FLSD Docket 07/18/2018 Page 12 of
                                      118

  maintained. Thus, as a point of clarification, just because the TASER ECD downloads recorded 18

  seconds of activation/discharge time from the TASER ECD does not mean that the TASER ECD

  were indeed in sufficiently close contact with the subject and delivering the electrical stimulus for

  that amount of time. Nor, does it indicate in what mode of ECD use, or what degree of

  neuromuscular incapacitation (NMI), if any, was induced. But for the purposes of my evaluation, I

  will assume that all 54 seconds of activation time was delivered to and effective on Mr. Tyson.

         Even after the final TASER ECD activation, Mr. Tyson was reported to still be resisting and

  struggling against restraints before he went into cardiac arrest. If the TASER ECD had

  “electrocuted” Mr. Tyson, his heart would have gone into a VF at the time the electricity was being

  delivered and he would have immediately lost consciousness at the time that the TASER ECD was

  discharging or within 1-2 seconds after stopping. Subjects in VF cannot fight or struggle, let alone

  remain conscious as the blood flow to the brain ceases immediately.

         This time of struggle after the last TASER ECD activation support that the TASER ECD did

  not cause his heart to go into cardiac arrest. This conclusion is also supported in that the first

  rhythm reported by the monitor/defibrillator that was used by paramedics to evaluate and treat Mr.

  Tyson after he went into cardiac arrest recorded the first rhythm as PEA. PEA is not a rhythm

  caused by electricity or electrocution, VF is. And, electrically-induced VF is resilient and does not

  deteriorate to PEA. If this was VF cardiac arrest, Mr. Tyson would still have been in VF when the

  paramedics evaluated him.

         For one to possibly conclude that a TASER ECD could even be considered to cause cardiac

  arrest, basically all the following facts would need to be present:

         1) The device probes would need to be penetrating deep into the chest directly over the

             heart with a very close DTH. Even for cardiac capture, which is not synonymous with

             VF, in a human an ECD dart would have to be within 16.7 millimeters (mm); in a swine




                                                     - 12 -
Case 0:16-cv-62215-WPD Document 101-8 Entered on FLSD Docket 07/18/2018 Page 13 of
                                      118

             model the closest DTH documented to achieve capture was 25.2 mm, and up to 8 mm

             for VF. For an ECD to induce sufficiently rapid capture or VF in a human would require

             a DTH of about 4-6 mm;

         2) The subject would need to have a thin chest wall. In the case of Mr. Tyson, even an ECD

             dart directly over his heart would not have been sufficiently close enough to induce

             capture, let alone VF, because of his size and the length of the ECD darts;

         3) The subject would need to be standing at the time of the TASER ECD activation and

             leaning forward so that the heart is closer to the anterior chest wall and the ECD dart

             closest to the heart;

         4) The subject would need to lose consciousness immediately during the TASER ECD

             activation or with 1-2 seconds after; and

         5) The first cardiac rhythm would need to be VF.

         All of these would be needed to even consider the TASER ECD as the cause of death, but in

  this case with Mr. Tyson, none of these facts are present. So again, the published scientific data as

  well as the objective evidence available in this case conclusively confirms that the use of the

  TASER ECD was non-contributory or causal to the cardiac arrest and death of Mr. Tyson.



     3. Mr. Tyson was exhibiting signs and symptoms consistent with excited delirium syndrome
        (ExDS), which along with his severely diseased heart and continued exertion from
        resistance, is the probable cause of his sudden cardiac arrest and death.

         Excited Delirium Syndrome (ExDS) is a syndrome most commonly caused by use of

  stimulant drugs like cocaine, methamphetamine or PCP and presents typically with aggressive and

  often paranoid behavior but can also be caused by uncontrolled and untreated psychiatric illnesses,

  particularly schizophrenia or bipolar disorder. In fact, the original description of ExDS symptoms in

  the medical literature was in psychiatric patients. And in the days before there were medications to



                                                    - 13 -
Case 0:16-cv-62215-WPD Document 101-8 Entered on FLSD Docket 07/18/2018 Page 14 of
                                      118

  treat these patients, the mortality rate was reported at 75%. Currently, the majority of cases occurs

  in subjects using illicit drugs and is a significant cause of sudden cardiac arrest.

         Classically, people suffering from ExDS are delusional often hallucinating, are hyperactive,

  may be violent despite threats or overwhelming force, fight inappropriately, be inappropriately

  dressed for the conditions or take off their clothes, may be sweaty, have elevated body

  temperatures, and are often breathing fast. They are also often destructive and often described as

  having superhuman strength. The subjects who tend to suffer sudden death are commonly noted to

  have elevated body temperatures.

         The actual pathophysiology of ExDS is complex and not well understood. Anatomic and

  molecular evaluation of ExDS patients who die has focused primarily on postmortem brain

  examinations. Results demonstrate a characteristic loss of the dopamine transporter in the striatum

  of chronic drug abusers who die with clinical presentations consistent with and a diagnosis of

  ExDS. This suggests that one potential pathway for the development of ExDS is excessive

  dopamine stimulation in the striatum.

         Even more supportive of central dopamine stimulation as a pathway is the fact that

  hypothalamic dopamine receptors are responsible for thermoregulation. These disturbances of

  dopamine neurotransmission may help explain the profound elevated temperatures reported in many

  ExDS patients as well as elevated levels of heat shock proteins, which are found in nearly every cell

  and act to protect cell proteins from a variety of stressors. The central dopamine hypothesis also

  provides a link to psychiatric etiologies and the delirious presentation in patients with ExDS.

         ExDS places the individual at increased risk for sudden death syndrome, felt by most experts

  to be caused by an irregular or stoppage of the heartbeat, caused by the increased stress and work on

  the heart by the excited, over-stimulated, agitated physical state. There are data that this state is

  caused by a central brain effect and changes in neurotransmitter receptors. Once the heart goes into




                                                     - 14 -
Case 0:16-cv-62215-WPD Document 101-8 Entered on FLSD Docket 07/18/2018 Page 15 of
                                      118

  an irregular beat or stops, blood flow through the body ceases and shortly thereafter, the subject will

  lose consciousness due to lack of blood flow to the brain and stops breathing. Often, law

  enforcement officers will notice that the subject has quieted down, thinking that he has finally

  calmed down and given up the fight. Then a short time later is when someone will identify that the

  subject is suddenly in cardiac arrest.

         Mr. Tyson was demonstrating a number of the signs of a classic presentation of ExDS. He

  was found naked and talking to the air, tree and wall, consistent with a delusional state. Mr. Tyson

  was exhibiting violent behavior by attacking Officer Ramirez. He was acting in a bizarre behavior,

  throwing items off of the balcony. Mr. Tyson was able to fight against significant force and

  vigorously resist three officers which is also consistent with ExDS. He was noted to be able to lift

  up Officer Ramirez off of the ground. Mr. Tyson was also reported to have superhuman strength by

  multiple officers including Officer Pantaloukas. He was also noted to be sweating profusely as

  well. He was keening and grunting incomprehensible words throughout the encounter. Mr. Tyson

  kept on struggling and fighting despite multiple uses of the TASER ECD stuns, demonstrating

  tolerance to pain. He was even noted to yell “rah, rah, rah” in between TASER ECD activations.

  Overall, this clinical presentation by Mr. Tyson was consistent with ExDS. And to render a

  diagnosis of ExDS, one must have an etiology, or cause. In the case of Mr. Tyson, it appears his

  ExDS was caused by his sub optimally treated psychiatric disorder. His friend reported that Mr.

  was not taking his psychiatric medication as prescribed, a common cause of ExDS. Thus, based on

  all of clinical characteristics, I am in agreement with the plaintiff’s expert, Dr. Mark Shuman, that

  Mr. Tyson was indeed suffering from ExDS.

         There is notation in the police report that a rectal temperature was obtained while Mr. Tyson

  was in the emergency department and was noted to be over 102°F, though this does not appear to be

  documented in the medical record. If accurate, this would be an elevated body temperature. It




                                                    - 15 -
Case 0:16-cv-62215-WPD Document 101-8 Entered on FLSD Docket 07/18/2018 Page 16 of
                                      118

  should also be noted that patients who go into cardiac arrest and undergo CPR resuscitation tend to

  have body temperatures that are even cooler than normal because of the lack of blood flow and the

  ambient exposure for performing the CPR. In this case, Mr. Tyson had an elevated temperature

  despite the cooler ambient temperatures in the ambulance and emergency departments, the cardiac

  arrest with CPR and the exposure. Mr. Tyson’s core body temperature was more likely even higher

  initially. This elevated temperature is also consistent with ExDS. Elevated body temperatures are

  not consistent with asphyxia or TASER ECD use.

         Finally, Mr. Tyson was noted to have a severely diseased heart. He had severe, critical

  atherosclerotic coronary artery disease in all four of his major coronary arteries, the blood vessels

  that supply the heart with oxygen enriched blood. His right coronary artery had up to 99%

  narrowing. His left main coronary artery had up to 50-60% narrowing. The left circumflex

  coronary artery had up to 70-80% narrowing. And finally, his left anterior descending (LAD)

  coronary blood vessel was narrowed up to 70-80% of its normal diameter. The LAD is one of the

  major coronary arteries, so important that it is nicknamed “the widow maker” because blockage of

  this vessel will typically result in cardiac arrest and sudden death. The narrowing of these arteries

  will obviously decrease the amount of blood that can be transported to the heart muscle that is

  supplied by these vessels. Add to that the degree of agitation and struggle Mr. Tyson was

  exhibiting and continued with his resistance and struggling, this would increase demands of blood

  to his heart with the narrowed coronary arteries limiting the flow.

         So, Mr. Tyson, unbeknownst to him or the officers on scene, had four severely blocked

  cardiac arteries each of which can be life-threatening and cause sudden cardiac arrest. When

  combined, they are even more dangerous. The exercised heart from Mr. Tyson’s continued struggle

  requires more oxygenation to function normally and the atherosclerotic coronary artery disease of

  his four major vessels restricted the ability to deliver that oxygen enriched blood to this cardiac




                                                    - 16 -
Case 0:16-cv-62215-WPD Document 101-8 Entered on FLSD Docket 07/18/2018 Page 17 of
                                      118

  muscle. This creates cardiac stress and significantly increases the risk of sudden cardiac arrest.

         Therefore, it is my opinion to a reasonable degree of medical certainty that Mr. Tyson’s

  cardiac arrest was caused by Excited Delirium Syndrome resulting from his untreated psychiatric

  disorder and exacerbated by an a severely diseased heart combined with his continued exertional

  resistance.



                                              Background

         My background is that I am a full-time faculty member in the department of emergency

  medicine at the University of California, San Diego Medical Center. I am residency trained and

  board certified in Emergency Medicine. I work full time as a practicing clinician in the Emergency

  Department of a busy urban hospital and serve as the vice chair of clinical operations for our

  department, overseeing clinical operations of our two emergency departments with a combined

  annual census of approximately 70,000 visits, urgent care and EMS division. I currently serve as

  the Medical Director for Risk Management for the UC San Diego Health System. I also serve as

  the UCSD Medical Center’s Medical Risk Management Committee Chair and Allocation

  Committee Co-Chair, as well as previously having served as the Chair of the Patient Care and Peer

  Review Committee, each of which are charged with the task of reviewing medical records and

  making determinations of standard of care. I am also the former Chief of Staff for the UCSD Health

  System.

         I am knowledgeable of peer-reviewed medical and scientific research on the physiological

  effects of positional restraint and positional asphyxia conducted by others. I have also performed

  extensive clinical research on human subjects who have been restrained in various positions and

  with various amounts of weight being placed (articles included in my curriculum vitae) which

  includes having directly been involved with hundreds of subjects being restrained and studied,




                                                    - 17 -
Case 0:16-cv-62215-WPD Document 101-8 Entered on FLSD Docket 07/18/2018 Page 18 of
                                      118

  hundreds of patients restrained during my work in the emergency department and have personally

  been restrained with weights placed on me as well. I have been invited to lecture nationally and

  internationally on this subject. Given my own interests in this area, I regularly perform a complete

  review of the literature regarding restraints and in custody death.

         I am knowledgeable of peer-reviewed medical and scientific research on TASER electronic

  control devices (ECDs) conducted by others. In fact, I was the lead author on work requested by

  the American Academy of Emergency Medicine (AAEM) to review the totality of the peer

  reviewed published medical literature on humans and come to conclusions regarding the necessary

  emergency department evaluation of patients being seen after receiving a TASER ECD activation. I

  have received federal grant funding and performed extensive clinical research on human subjects

  who have received TASER ECD applications (articles included in my curriculum vitae) which

  includes having been involved with over 200 TASER ECD activations and have personally received

  multiple applications of the device. I have written several book chapters on this topic and have

  lectured internationally about the physiologic effects of TASER ECDs.

         I was also the lead author on work requested by the American College of Emergency

  Physicians (ACEP) to review the totality of the body of literature on the topic of Excited Delirium

  Syndrome (ExDS) and wrote up the findings of the expert consensus panel’s white paper. I have

  published a number of papers on the topic, have been grant funded by the National Institute of

  Justice to study patients with ExDS and invited to write text book chapters on the topic of ExDS. I

  have also been invited to lecture nationally and internationally on the topics of Excited Delirium

  Syndrome.

         I am knowledgeable of peer-reviewed medical and scientific research for cardiac arrest and

  CPR practices. I was the Principle Investigator for San Diego’s Resuscitative Outcomes

  Consortium (ROC) site, a National Institute of Health (NIH) funded study for ten years that




                                                    - 18 -
Case 0:16-cv-62215-WPD Document 101-8 Entered on FLSD Docket 07/18/2018 Page 19 of
                                      118

  involved over 200,000 cardiac arrest patients to evaluate treatment options for out of-hospital

  cardiac arrest and severe traumatic injury. I have published many peer-reviewed papers on the topic

  of cardiac arrest and cardiac resuscitation, including publications in the New England Journal of

  Medicine, JAMA, and Circulation. I also served as the Medical Director of the American Heart

  Association Training Center at the University of California, San Diego Center for Resuscitation

  Science almost ten years, teaching Advanced Cardiac Life Support (ACLS) both locally and being

  asked to give lectures on cardiac arrest internationally. I have been an ACLS instructor for over 20

  years. I also work at a busy urban comprehensive emergency department where I care for patients

  in cardiac arrest on a regular basis.

         As per Rule 26 formatting, Appendix A is a copy of my current Curriculum Vitae, which

  includes a list of all publications authored by me. Appendix B is a list of all cases in which I have

  testified as an expert in trial or deposition within the preceding four years. Appendix C is my fee

  schedule. The knowledge base that I utilize has been developed over time from my years of

  clinical practice and experience, reading and training as well as research. Under penalty of perjury,

  I hereby swear that the opinions stated above are true and correct within a reasonable degree of

  medical probability. I also reserve the right to review the Rule 26 Reports or supplements of other

  expert witnesses retained in this case by all parties and review these materials as they become

  available in the case and provide additional opinions as appropriate.



  Respectfully submitted,




  Gary M. Vilke, M.D., FACEP, FAAEM
  Professor of Clinical Emergency Medicine
  Vice-Chair, Clinical Operations Emergency Medicine
  Medical Director, Risk Management, UC San Diego Health System
  Medical Director, Carlsbad Fire, Chula Vista Fire and AirLinkUSA


                                                    - 19 -
Case 0:16-cv-62215-WPD Document 101-8 Entered on FLSD Docket 07/18/2018 Page 20 of
                                      118

  APPENDIX A                         CURRICULUM VITAE
                       GARY MICHAEL VILKE, M.D., FACEP, FAAEM



  HOME ADDRESS:                                              OFFICE ADDRESS:

                                                             Department of Emergency Medicine
                                                             UCSD Medical Center
                                                             200 W. Arbor Drive
                                                             San Diego, CA 92103-8676
                                                             Phone: (619) 543-6210
                                                             Fax:    (619) 543-3115
                                                             E-mail: gmvilke@ucsd.edu


  PERSONAL:         Born September 12, 1966 in Cleveland, Ohio


  EDUCATION:

  Academic:               B.S. in Zoology, University of California, Berkeley
    1983-88               Berkeley, California

  Medical School:         M.D., University of California, San Diego School of Medicine
   1988-92                La Jolla, California

  Internship:             Department of Surgery
     1992-93              University of California, San Diego Medical Center
                          San Diego, California

  Residency:              Department of Emergency Medicine
    1993-96               University of California, San Diego Medical Center
                          San Diego, California (Chief Resident: 1995-96)

  Physician Leadership    University of California, San Diego Medical Center
  Academy:                San Diego, California
    2007-09


  LICENSURE:        California Medical License Number G-78057


  BOARD CERTIFICATIONS:
     National Board of Medical Examiners, 1993
     American Board of Emergency Medicine, 1997, renewed 2007, 2017


                                                  - 20 -
Case 0:16-cv-62215-WPD Document 101-8 Entered on FLSD Docket 07/18/2018 Page 21 of
                                      118

  APPOINTMENTS:

     9/11 - Present    Professor of Clinical Emergency Medicine and Medicine, University of
                       California, San Diego (UCSD) School of Medicine

     1/18-Present      Medical Director, Chula Vista Fire Department

     1/18-Present      Medical Director, UCSD Paramedic Base Hospital

     1/16 – Present    Emergency Medicine Clinical Service Chief, UC San Diego Health System

     1/16 – Present    Co-Medical Director, Department of Emergency Medicine, UCSD Medical
                       Center

     10/15 – Present   Medical Director, AirLinkUSA Air Ambulance Service

     9/15- Present     Staff Physician, El Centro Regional Medical Center Department of
                       Emergency Medicine

     2/14- Present     Assistant Chief, Division of Emergency Medical Services (EMS)/Disaster
                       Medicine, UCSD Medical Center, Department of Emergency Medicine

     1/13 – Present    Medical Director, Carlsbad Fire Department

     7/12 – Present    Medical Director, Risk Management, UC San Diego Health System

     10/09 – Present   UCSD Department of Emergency Medicine Clinical Research Scholar
                       Fellowship Director

     2/06 - Present    Chief, Division of Clinical Research, UCSD Medical Center, Department of
                       Emergency Medicine

     7/94 - Present    Base Hospital Physician, University of California Medical Center




                                                - 21 -
Case 0:16-cv-62215-WPD Document 101-8 Entered on FLSD Docket 07/18/2018 Page 22 of
                                      118

  PREVIOUS EXPERIENCE/APPOINTMENTS:

     6/12 –7/17     Associate Director, Department of Emergency Medicine Behavioral
                    Emergencies Research (DEMBER) Lab

     4/07 – 12/16   Medical Director of the American Heart Association Training Center at the
                    UCSD Center for Resuscitation Science

     7/96 – 12/15   Assistant Director, Department of Emergency Medicine, UCSD Medical
                    Center

     7/13 – 9/15    Chief, Division of Custody Medicine, UCSD Medical Center, Department of
                    Emergency Medicine

     4/99 – 9/15    Director, Custody Services, UCSD Medical Center (Co-Director 1999-2013)

     3/13 – 9/15    Medical Director, AviaMedix Air Ambulance Service
     10/11- 2/14    Chief, Division of Emergency Medical Services (EMS)/Disaster Medicine,
                    UCSD Medical Center, Department of Emergency Medicine

     4/12 – 3/13    Medical Director, Aeromedevac Air Ambulance Service
     7/09 – 6/12    Chief of Staff, UCSD Medical Center
     7/07 - 6/09    Vice Chief of Staff UCSD Medical Center
     7/04 – 6/09    EMS/Disaster Medicine Fellowship Director, Department of Emergency
                    Medicine.
     3/02 - 2/06    Medical Director, San Diego County Emergency Medical Services
     3/03 - 12/05   Medical Consultant, San Diego Chapter Red Cross Disaster Health Services
     6/04 - 2/05    Interim Chief, San Diego County Emergency Medical Services
     1/01 - 2/04    Medical Director, Southwestern College Paramedic Training Program
     7/00 - 2/04    Medical Director, Palomar College Paramedic Training Program
     7/97 - 1/03    Director, Prehospital Services, UCSD Medical Center
     6/97 - 1/03    Medical Director, Paramedic Base Hospital, UCSD Medical Center
     7/96 - 1/03    Medical Director, Mercy Air Medical Transport Service, San Diego,
                    California
     4/99 - 3/01    Medical Co-Director, San Diego Central Jail Medical Services
     1/96 - 7/96    Flight Physician, Mercy Air Medical Transport Service, San Diego,
                    California
     7/95 - 7/96    Associated Emergency Physicians Medical Group, San Diego, California
     12/94 - 7/96   Kaiser Permanente Emergency Department, San Diego, California

                                             - 22 -
Case 0:16-cv-62215-WPD Document 101-8 Entered on FLSD Docket 07/18/2018 Page 23 of
                                      118

  PREVIOUS EXPERIENCE/APPOINTMENTS (cont.):

     10/94 - 7/96   Med America Health Resource Company, San Diego, California
     4/94 - 7/95    Sharp-Rees-Stealy Urgent Care, San Diego, California
     7/93 - 12/95   Flight Physician, Life Flight Air Medical Transport Service




  PREVIOUS ACADEMIC APPOINTMENTS
     7/05 – 9/11    Professor of Clinical Medicine, UCSD School of Medicine
     7/01 - 6/05    Associate Professor of Clinical Medicine, UCSD School of Medicine
     7/96 - 6/01    Assistant Clinical Professor of Medicine, UCSD School of Medicine




                                             - 23 -
Case 0:16-cv-62215-WPD Document 101-8 Entered on FLSD Docket 07/18/2018 Page 24 of
                                      118

  HONORS AND AWARDS:

     1990   Random House Medical Student Award
     1996   American College of Emergency Physicians, California Chapter Challenge
            Bowl Winner

     1996   Council of Residency Directors (CORD) Resident Academic Achievement Award
     1996   Outstanding Emergency Medicine Resident
     1996   UCSD Emergency Department Staff Support Award
     1996   Journal of Emergency Medicine Outstanding Contribution Award
     1999   “Golden Apple” Teaching Award, UCSD Emergency Medicine Residency
            Graduating Class of 1999

     2000   Faculty of the Year, UCSD Emergency Medicine Residency Graduating Class of 2000
     2000   Best Research Poster Presentation, California Chapter of the American College of
            Emergency Physicians (CAL/ACEP) Scientific Assembly, Dana Point, California

     2000   Outstanding Scientific Abstract, State of California EMS Authority Annual Emergency
            Medical Services for Children Conference, San Diego, California, November 2000

     2001   Best Oral Presentation, CAL/ACEP Scientific Assembly, Santa Clara, California
     2004   Academy of Clinician Scholars, University of California San Diego
     2004   Top Doctor in San Diego County, San Diego Magazine
     2004   Top Peer Reviewer, Annals of Emergency Medicine
     2005   Top Doctor in San Diego County, San Diego Magazine
     2005   Clinical Investigation Institute, University of California San Diego
     2006   Top Doctor in San Diego County, San Diego Magazine
     2007   Finalist San Diego Business Journal Health Care Champion Award
     2007   Top Doctor in San Diego County, San Diego Magazine
     2007   Top Peer Reviewer, Annals of Emergency Medicine
     2008   Top Doctor in San Diego County, San Diego Magazine
     2008   UCSD Undergraduate Campus Outstanding Faculty Mentor of the Year
     2009   Clinical and Translational Research Institute, Charter member
     2009   Top Doctor in San Diego County, San Diego Magazine
     2010   Top Doctor in San Diego County, San Diego Magazine
     2011   Top Doctor in San Diego County, San Diego Magazine




                                                - 24 -
Case 0:16-cv-62215-WPD Document 101-8 Entered on FLSD Docket 07/18/2018 Page 25 of
                                      118

  HONORS AND AWARDS, continued:


     2012 Top Doctor in San Diego County, San Diego Magazine
     2013 Top Doctor in San Diego County, San Diego Magazine
     2014 Top Doctor in San Diego County, San Diego Magazine
     2015 "25 Emergency Medicine & EMS Professors You Should Know" From Medical
          Technology Schools at: http://www.medicaltechnologyschools.com/emt/emergency-
          medicine-ems-professors-to-know


  CERTIFICATIONS:
     Basic Cardiac Life Support Instructor
     Pediatric Advanced Life Support Provider
     Advanced Cardiac Life Support Instructor
     Hazardous Material Training, Level I
     Advanced HAZMAT Life Support Provider



  PROFESSIONAL SOCIETY MEMBERSHIPS:
     American Medical Association, 1988-97
     California Alumni Association, 1988
     American College of Emergency Physicians, 1991-2000
     Fellow, American College of Emergency Physicians, 2000
     California Chapter of the American College of Emergency Physicians, 1991
     Society for Academic Emergency Medicine, 1995
     National Association of EMS Physicians, 1998
     Fellow, American Academy of Emergency Medicine, 2000
     California Chapter of the American Academy of Emergency Medicine, 2000
     American Association of University Professors, 2002
     California Conference of the American Association of University Professors, 2002
     San Diego Faculty Association, 2002
     San Diego County Medical Society, 2003
     California Medical Association, 2003
     American Association of Emergency Psychiatry, 2014



                                                - 25 -
Case 0:16-cv-62215-WPD Document 101-8 Entered on FLSD Docket 07/18/2018 Page 26 of
                                      118

  PATENTS:

     # WO 2010/011976 A2: Medication Delivery Devices Having Penetrable Sterility Barriers and
     Alignment Features (January 28, 2010)

     # WO 2010/011976 A2: Medication Delivery Devices Having Penetrable Sterility Barriers and
     Alignment Features (January 28, 2010)

     # US 2010/011966 A2: Medication Delivery System (January 28, 2010)

     # US 2010/0022987 A1: Medication Delivery System (January 28, 2010)

     # US 61476836 Medication Delivery Apparatus (April 19, 2011)




     CURRENT ACTIVITIES:
     Objective Structured Clinical Examiner, Introduction to Clinical Medicine, UCSD School of
     Medicine, 1997
     UCSD Alumni Preceptor, UCSD School of Medicine, 1997
     Physician Member, San Diego County Metropolitan Medical Strike Team, 1998

     Quality Assurance Reviewer, Department of Emergency Medicine, UCSD Medical Center, 1999

     Evaluator, UCSD Physician Assessment and Clinical Evaluation (PACE) Program, 2000

     Tactical EMS Care Provider for San Diego Shisiff’s Special Enforcement Detail (SED), 2007

     San Diego State Pre-Med Preceptor, SDSU, 2008

     Phi Delta Epsilon Faculty Mentor, UCSD, 2008

     LIFESHARING, A Donate Life Organization Advisory Board, 2010




                                                - 26 -
Case 0:16-cv-62215-WPD Document 101-8 Entered on FLSD Docket 07/18/2018 Page 27 of
                                      118

  Journals
     Editor-in-Chief, Advances in Legal Medicine, Longdom Publishing, 2014-2015.

     Senior Associate Editor/Editorial Board, Journal of Emergency Medicine, Elsevier Science,
     Inc., 2013 (Associate Editor since 2007, Editorial board since 2000; reviewer since 1994)
     Editorial Board, Prehospital Emergency Care, Taylor & Francis Group, 2006 (Reviewer since
     2004)
     Editorial Board, Journal of Forensic and Legal Medicine, Elsevier Science, Inc. 2012
     (Reviewer since 2011)

     Editorial Board, Emergency Medicine and Healthcare, Herbert Publications, 2013
     Senior Reviewer, Annals of Emergency Medicine, Mosby, 2007 (Reviewer since 1998)
     Reviewer, European Journal of Epidemiology, Kluwer Academic Publishers, 1996-97
     Reviewer, Western Journal of Emergency Medicine, 2001
     Reviewer, American Journal of Emergency Medicine, Elsevier Science, Inc., 2005
     Reviewer, Emergency Medicine Journal, BMA House, 2006
     Reviewer, Forensic Science International, 2007
     Reviewer, California Journal of Emergency Medicine, 2007
     Reviewer, Journal of the American Medical Association (JAMA), 2009
     Reviewer, BioMedical Engineering OnLine, 2009
     Reviewer, Bioelectromagnetics, 2010
     Reviewer, Forensic Science, Medicine and Pathology, 2010
     Reviewer, Psychology Research and Behavior Management, 2010
     Reviewer, Academic Emergency Medicine, 2010
     Reviewer, Medicina, 2012
     Reviewer, Injury Prevention, 2013
     Reviewer, Therapeutics and Clinical Risk Management, 2013
     Reviewer, Pediatrics, 2013
     Reviewer, Journal of Forensic Toxicology and Pharmacology, 2014
     Reviewer, Journal of Injury and Violence Research, 2014
     Reviewer, International Journal of Molecular Sciences, 2015
     Reviewer, Emergency Medicine International, 2015
     Reviewer, Policing: A Journal of Policy and Practice, 2016
     Reviewer, International Journal of Law and Psychiatry, 2017



                                                 - 27 -
Case 0:16-cv-62215-WPD Document 101-8 Entered on FLSD Docket 07/18/2018 Page 28 of
                                      118

  Content Expert
     Reviewer, Practical Summaries in Acute Care, Thomson American Health Consultants, 2006
     Expert Editorial Advisor, Managing the Ankylosing Spondylitis Patient in an Emergency Setting
     for the Spondylitis Association of America (SAA). 2008

     Content Expert for Cable News Network (CNN), 2009

     Content Expert for ABC News, 2011




                                                - 28 -
Case 0:16-cv-62215-WPD Document 101-8 Entered on FLSD Docket 07/18/2018 Page 29 of
                                      118

  PREVIOUS ACTIVITIES:

     Vice-President, California Chapter of Emergency Medicine Residents Association, 1994-95
     Editor-in-Chief, California Chapter of Emergency Medicine Residents Association Newsletter,
     1994-95
     Co-Director, School of Medicine 225: Introduction to Emergency Medicine, UCSD School of
     Medicine, 1994-95
     Strike Team Leader, DMAT Olympics 1996 Biological & Chemical Antiterrorist Medical Support
     Director, Mercy Air Medical Transport Services Continuing Clinical Education, 1996-2003
     Member, San Diego County 911 Dispatch Quality Review Board, 1997-98
     Co-Director, University of California, San Diego School of Medicine, Course SOM 224I, 1997-2002
     Pediatric Advanced Life Support Course Director, 1997-2002
     Editor-in-Chief, UCSD Medical Center EMS Run Review, 1997-2003
     Sponsor, Palomar College Emergency Medical Education Department Paramedic Training,
     1997-2003
     Medical Support Physician, Super Bowl XXXII, San Diego, California, January 25, 1998
     Medical Support Physician, Suzuki Rock-n-Roll Marathon, San Diego, California, June 21, 1998
     Marketing Director, California Chapter of the American College of Emergency Physicians
     (CAL/ACEP) Scientific Assembly, 1998-99
     Member, Program Committee, CAL/ACEP Scientific Assembly, 1998-99
     Howard Hughes Foundation Undergraduate Preceptor, 1998, 1999
     Co-editor, Pearls from PAC Newsletter, 1998-2000
     Preceptor, Introduction to Clinical Medicine 201-B, UCSD School of Medicine, 1999
     EMS Team Leader, San Diego County Metropolitan Medical Strike Team, 1999
     Co-Chair, Program Committee, CAL/ACEP Scientific Assembly, 1999-2000 and 2000-01
     Member, San Diego County Bio-Terrorism Planning Group, 1999-2003
     Moderator, EMS Poster Section, Western Regional Society for Academic Emergency Medicine
     Conference, Portland, Oregon, April 2000
     Preceptor, California State University Dominguez Hills Statewide Nursing Program, 2000
     Affiliate Faculty, Southwestern College Paramedic Training Program, 2000-03




                                                - 29 -
Case 0:16-cv-62215-WPD Document 101-8 Entered on FLSD Docket 07/18/2018 Page 30 of
                                      118

  PREVIOUS ACTIVITIES, continued:

     Medical Director, EPIC “Eliminate Preventable Injuries of Children” Medics, San Diego
     County, 2000-03
     San Diego Port District AED (Automated External Defibrillator) Program RPF Panel, 2001
     Peer Reviewer, Pediatric Emergency Medicine Reports, 2001
     Reviewer, Scientific Abstract Presentations, CAL/ACEP Scientific Assembly, 2001-02
     Member, Board of Directors, CAL/ACEP, 2001-03
     Moderator, Western Regional SAEM Research Presentations, San Diego, California, April 2002
     Clinical Coordinator, Southwestern College Emergency Medical Technician Program, 2001-03
     Santa Clara County/Regional Medical Center Trauma Designation Review Committee, 2004
     San Diego County Health Services Capacity Issues Task Force, 2002-06
     San Diego Regional Safety Consortium Inter-facility Transfer Protocol Task Force, 2004-06
     San Diego Regional Fire Prevention Emergency Preparedness Task Force, 2004-2006
     San Diego County Task Force on Fire Prevention, 2004-06
     President-Elect, EMS Medical Director’s Association of California, 2005-06
     Medical Director, San Diego County Metropolitan Medical Strike Team, 1998-2008
     American College of Emergency Physicians (ACEP) Task Force on Excited Delirium Syndrome
        2009-10
     National Institute of Justice Task Force on Excited Delirium, 2011
     Member, Disaster Medical Assistance Team (CA-4), 1994-2011
     Operations Committee, San Diego County Metropolitan Medical Strike Team, 1998-2010




                                                 - 30 -
Case 0:16-cv-62215-WPD Document 101-8 Entered on FLSD Docket 07/18/2018 Page 31 of
                                      118

  CURRENT UCSD COMMITTEE MEMBERSHIPS:

     Research Committee, Department of Emergency Medicine, 1997
     UCSD Faculty Association, 2002
     Quality Improvement/Peer Review Committee, Department of Emergency Medicine, 2002
     UCSD Academy of Clinician Scholars Executive Committee, 2005
     UCSD Medical Staff Executive Committee, 2007
     Chair, UCSD Medical Risk Management Committee, 2012
     Chair, UCSD Allocation Committee, 2012
     UCSD Significant Events Committee, 2012
     Rady Children’s Root Cause Analysis Committee, Ad hoc, 2012
     Co-Chair, UCSD/Rady Children’s Joint Risk Management Committee (JRMC), 2013
     UCSD Patient Experience Executive Committee, 2013
     UCSD Faculty Leadership Group, 2014
     Patient Advocacy Reporting System (PARS) Oversight Team, 2014
     Rady Children’s Emergency Department Faculty Search Committee, 2015
     UCSD Department of Emergency Medicine Clinical Operations Committee, 2016
     UCSD Department of Emergency Medicine Executive Committee, 2016
     UCSD Department of Emergency Medicine Management Committee, 2016
     UCSD Department of Emergency Medicine/Psychiatric Committee, 2016
     UCSD Hillcrest Emergency Department Patient Flow Task Force, 2016
     UCSD Health System Grievance Committee, 2016
     UCSD Threat Assessment Management Committee, 2016




                                               - 31 -
Case 0:16-cv-62215-WPD Document 101-8 Entered on FLSD Docket 07/18/2018 Page 32 of
                                      118

  PREVIOUS UCSD COMMITTEE MEMBERSHIPS:

     UCSD Department of Emergency Medicine Academic Affairs Committee, 2013-15
     President, UCSD Academy of Clinician Scholars, 2013-15
     UCSD Board of Governor’s Committee, 2013-15
     UCSD Academic Senate Representative Assembly, Alternate, 2011-13
     UCSD Sheriff Managed Care Oversight Committee
     Ladder Rank Recruitment Committee, UCSD Department of Emergency Medicine, 2013
     UCSD Medical Staff Bylaws Work Group, 2014
     Chair, Emergency Department Staffing Committee of Process Action Team, 1994-95
     Hospital Infection Control Committee, 1994-95
     Emergency Medicine Housestaff Association Representative, 1994-96
     Emergency Department Clinical Practices Committee, 1994-96
     Emergency Department Peer Review/Quality Assurance Committee, 1995-96
     Emergency Department Critical Care Room Process Action Team, 1996
     Paramedic/Emergency Department Interface Task Force, 1998-99
     Emergency Department Staffing Committee, Department of Emergency Medicine, 1999
     Credentials Committee, 1997-2000
     Faculty Search Committee, Department of Emergency Medicine, 1999, 2000, 2002
     Medical Director’s Group, 1997-2002
     Patient Care Review Committee, 2003
     Medical Risk Management Committee, 2002-07
     Patient Improvement and Outcome Committee, 2003-05
     Medical Staff Executive Committee Reorganization Ad Hoc Committee, 2005-2006
     UCSD Phasing Strategy Ad Hoc Committee, 2005-06
     Clinical Representative, Trauma Quality Assurance Program, 1998-2006
     Vice Chief of Staff, UCSD Medical Center, 2007-2009
     UCSD/San Diego Sheriff Security Working Group, 2003-10
     Chief of Staff, UCSD Medical Center, 2009-2012
     Vice-Chair, Quality Council Committee, 2009-2012 (member since 2003)
     Chair, Medical Staff Executive Committee, 2009-2012
     UCSD Governance Advisory Committee, 2009-2012



  PREVIOUS UCSD COMMITTEE MEMBERSHIPS, continued:


                                               - 32 -
Case 0:16-cv-62215-WPD Document 101-8 Entered on FLSD Docket 07/18/2018 Page 33 of
                                      118

     UCSD Department of Medicine Clinical Operations Redesign Enterprise (CORE) Initiative
     Team, 2009-2012
     Director of Risk Management Selection Committee, 2007
     Chair, Medical Risk Management Committee, 2003-07 (member since 2002)
     Medical Risk Management Executive Committee, 2003-07
     UCSD Medical Center Allocation Committee 2005-07
     Patient Safety Committee, 2003-07
     Vice Chair, Medical Staff Executive Committee, 2007-09
     Chair, Patient Care and Peer Review Committee, 2007-09 (member since 2005)
     Trauma Multidisciplinary Committee, 2000-09
     Department of Medicine Committee on Advancement and Promotions (DOMCAP), 2007-09
     Vice Chair, Quality Council Committee, 2009-2012
     UCSD Medical Center Syncope Task Force, 2010-11
     UCSD Director of Risk Management Selection Committee, 2012
     Secretary-Treasurer, UCSD Academy of Clinician Scholars, 2005-12
     UCSD Root Cause Analysis Committee, 2013
     UCSD Department of Emergency Medicine Chair Selection Committee, 2012-13
     UCSD Department of Emergency Medicine Faculty Coverage Committee, 2012-13
     UCSD Integrated Delivery Network Design Team, 2012-13
     UCSD Department of Emergency Medicine Patient Satisfaction Committee, 2012-13
     UCSD Department of Emergency Medicine Faculty Search Committee, 2013


  CURRENT COMMITTEE MEMBERSHIPS:

     American Academy of Emergency Physicians, Clinical Practice Committee, 2011
     Carlsbad Fire Department EMS Oversight Committee, 2013
     San Diego County Base Station Physicians’ Committee, 2013




                                               - 33 -
Case 0:16-cv-62215-WPD Document 101-8 Entered on FLSD Docket 07/18/2018 Page 34 of
                                      118

  PREVIOUS COMMITTEE MEMBERSHIPS:

     Practice Management Committee, CAL/ACEP, 1994-95
     Committee on Prehospital Stroke Triage, San Diego County Medical Society, 1998
     Research Subcommittee, San Diego County Prehospital Audit Committee, 1997-99
     Prehospital RSI Task Force, San Diego County Prehospital Audit Committee, 1997-99
     Chair, San Diego County Prehospital Audit Committee, 1998-2000
     San Diego County Pediatric CPR Task Force, 1999-2000
     San Diego Sheriff’s Source Selection Committee, 2000
     Steering Committee, San Diego County Metropolitan Medical Strike Team, 1998-2001
     Program Committee, CAL/ACEP Scientific Assembly, 1998-2001 (Co-Chair for 1999-2001)
     Awards Committee, CAL/ACEP Scientific Assembly, 1999-2001
     EMS Committee, San Diego County Metropolitan Medical Strike Team, 1999-2001
     San Diego Metropolitan Medical Response System Bio-Terrorism Planning Group, 1999-2001
     San Diego County EMS QA Net Prehospital Design Steering Committee, 2000-01
     Chair, CPR Subcommittee, San Diego County Prehospital Audit Committee, 1998-2002
     San Diego County SIPs (Serial Inebriate Program) Task Force, 2000-02
     Task Force Leader, CAL/ACEP Scientific Assembly, 2001-02
     Chair, Training Committee, San Diego County Metropolitan Medical Strike Team, 2001-02
     Co-Chair, EMS Committee, CAL/ACEP, 2001-02
     Policy Committee, CAL/ACEP, 2001-02
     Chair, Research Subcommittee, San Diego County Prehospital Audit Committee, 2000-02
     Governmental Affairs Committee, CAL/ACEP, 2001-02
     Didactic Subcommittee, SAEM Program Committee, 2001-02
     Program Mgmt Committee, San Diego County Metropolitan Medical Strike Team, 2001-03
     Air Medical Transport Section, American College of Emergency Physicians, 2001-03
     San Diego County Sheriff’s Mortality Review Committee, 2001-03
     San Diego County Sheriff’s Pharmacy and Therapeutics Committee, 2001-03
     City of San Diego EMS Physicians' Advisory Committee, 1998-2006
     City of San Diego Prehospital Cardiac Advisory Committee, 1998-2006
     Education Committee, CAL/ACEP, 2000-03
     SAEM EMS Interest Group, 2001-2006 (Co-chair 2003-04)




                                               - 34 -
Case 0:16-cv-62215-WPD Document 101-8 Entered on FLSD Docket 07/18/2018 Page 35 of
                                      118

  PREVIOUS COMMITTEE MEMBERSHIPS, continued:

     San Diego County EMS for Children (EMSC) Advisory Committee, 2002-05
     Scientific Subcommittee, SAEM Program Committee, 2002-05
     Police Executive Research Forum Task Force on Conductive Energy Weapons Use, 2005
     San Diego County EMS for Children (EMSC) Advisory Committee, 2002-05
     Scientific Subcommittee, SAEM Program Committee, 2002-05
     Member-at-large, EMDAC Officer Board, 2004-05
     San Diego County Fire Chief’s Association, 2004-06
     San Diego County Sheriff’s Helicopter Program Ad Hoc Advisory Committee, 2004-06
     Chair, San Diego County HRSA Work Group, 2004-06
     San Diego County Regional Helicopter Advisory Committee, 2004-06
     San Diego County HRSA Executive Steering Committee, 2004-06
     San Diego County Critical Care Transport Working Group, 2005-06
     San Diego County Prehospital Patient Record IT Steering Committee, 2005-06
     San Diego County Cardiac Advisory Committee, 2005-06
     San Diego County Stroke Advisory Committee, 2005-06
     San Diego County Emergency Medical Care Committee, 2006
     Co-Chair, San Diego County Medical Society EMS Medical Oversight Committee, 2002-2006
     Chair, EMS Committee, American Academy of Emergency Medicine California Chapter, 2000-06
     EMS Medical Director’s Association of California, 2002-06
     San Diego County Trauma Administrators Committee, 2002-06
     Chair, San Diego County EMS Research Committee, 2002-06
     Chair, San Diego County Paramedic Protocol Revision Committee, 2002-06
     San Diego County Public Health Services Physicians Group, 2003-06
     SAEM EMS Interest Group, 2001-2006 (Co-chair 2003-04)
     San Diego County Healthcare Advisory Committee on Terrorism, 2003-06
     San Diego County Paramedic Training Joint Advisory Committee, 2000-06
     San Diego County Public Health Preparedness Team, 2001-06
     EMS Section, American College of Emergency Physicians, 2001-06
     Chair, San Diego County Aeromedical Protocol Committee, 1998-2006
     San Diego County Committee on Pediatric Emergency Medicine, 1998-2006
  PREVIOUS COMMITTEE MEMBERSHIPS, continued:
     San Diego County Base Hospital Physicians Committee, 1997-2006

                                               - 35 -
Case 0:16-cv-62215-WPD Document 101-8 Entered on FLSD Docket 07/18/2018 Page 36 of
                                      118

     San Diego County Trauma Audit Committee, 1997-2006
     San Diego County Prehospital Audit Committee, 1997-2006
     EMS Medical Director’s Association of California, 2002-06
     SAEM Program Committee, 2001-2007
     Chair, Photography Subcommittee, SAEM Program Committee, 2002-2007
     Training Committee, San Diego County Metropolitan Medical Strike Team, 2001-09
     San Diego BEACON/EMS Hub Technical Committee, 2012-13
     San Diego Central Jail Quality Assurance Committee, 1999-2013
     San Diego Central Jail Medical Oversight Committee, 1999-2013
     Resuscitative Outcomes Consortium (ROC) Executive Committee, 2014-15
     Resuscitative Outcomes Consortium (ROC) EMS Operations Committee, 2014-15
     Resuscitative Outcomes Consortium (ROC) Management Committee, 2014-15
     Resuscitative Outcomes Consortium (ROC) Hospital Practices Cardiac Committee, 2014-15
     Resuscitative Outcomes Consortium (ROC) Publications Committee, 2014-15
     Resuscitative Outcomes Consortium (ROC) Cardiac Committee, 2014-15
     Resuscitative Outcomes Consortium (ROC) Trauma Committee, 2014-15




                                               - 36 -
Case 0:16-cv-62215-WPD Document 101-8 Entered on FLSD Docket 07/18/2018 Page 37 of
                                      118

  CURRENT FUNDED RESEARCH:

  1.   Co-Investigator with Edward Castillo (PI) for study entitled, “Acute Home Care as an
       Alternative to Inpatient Admission from the Emergency Department”. Funded by the Gary
       and Mary West Health Institute, 2015 – 2016. Amount: $499,125.

  2.   Co-Investigator with Theodore Chan (PI) for study entitled, “The Gary and Mary West
       Geriatric Center of Excellence (West COE): Phase 1 Research Development”. Funded by the
       Gary and Mary West Health Institute, 2015-2016. Amount: $243,610.




                                               - 37 -
Case 0:16-cv-62215-WPD Document 101-8 Entered on FLSD Docket 07/18/2018 Page 38 of
                                      118

  PREVIOUS FUNDED RESEARCH:

  1.    Co-Investigator with Tom Neuman (PI) for evaluation of positional asphyxia in the hobble
        restraint position, funded by the County of San Diego, 1995--$33,900

  2.    Co-Investigator, with Theodore Chan (PI), for evaluation of the Melker percutaneous
        cricothyrotomy kit in human cadavers, funded by Cook Medical Products, 1997--$10,000

  3.    Co-Investigator with John Eisele (PI) for the evaluation of positional asphyxia in the hobble
        restraint position with weight on subjects' backs, funded by the American Academy of
        Forensic Sciences, 1998--$2,500

  4.    Co-Investigator, with Theodore Chan (PI), for study entitled, “The Impact of Oleoresin
        Capsicum Spray on Respiratory Function in Human Subjects in the Sitting and Prone
        Maximal Restraint Positions.” Study funded by the National Institute of Justice, U.S.
        Department of Justice, 1998-99. UCSD No. 98-7107; USDOJ Federal Award #98-IJ-CX-
        0079. Amount: $128,176

  5.    Principle Investigator (PI) for study entitled “Evaluation of Hurricaine anesthetic in patients
        with dyspepsia” funded by Beutlich Pharmaceuticals for, 2001. Amount: $1,500

  6.    Co-Investigator, with Theodore Chan (PI), for evaluation of the Melker percutaneous
        cricothyrotomy kit in human cadavers, funded by Cook Medical Products, 2003. Amount:
        $12,000

  7.    Co-Investigator, with David Hoyt (PI) for the Resuscitation Outcomes Consortium: UCSD /
        San Diego Resuscitation Research Center, funded by the NIH, 9/1/04 to 6/30/09. UO1
        HL077908. Amount: $2,250,522

  8.    Co-Principal Investigator (Co-PI), with Theodore Chan, for study entitled, “The effect of
        Taser on Cardiac, Respiratory and Metabolic Physiology in Human Subjects.” Study funded
        by the National Institute of Justice, U.S. Department of Justice, 10/1/2005 to 9/30/2007.
        UCSD No. 2006-0846; USDOJ Federal Award #98-IJ-CX-0079. Amount: $213,941.4

  9.    Co-Investigator, with Daniel Davis (PI) for the study entitled, “ROC Interventional Trials:
        Hypertonic Resuscitation for Traumatic Injury, Trauma Epistry, PRIMED”, funded by the
        NIH, 7/1/06 to 6/30/08. UO1 HL077863. Amount: $331,320

  10.   Co-Investigator, with Daniel Davis (PI) for the, “ROC Cardiac Epistry”, funded by the AHA,
        7/1/06 to 6/30/08. Amount: $133,427

  11.   Co-Investigator, with Theodore Chan (PI) for study entitled, “Multi-Center Study of the
        Impact of Nurse-Patient Ratios on Emergency Department Overcrowding.” funded by the
        Emergency Medicine Foundation, 7/1/07 to 6/30/08. Amount: $50,000

  12.   Principal Investigator (PI) for study entitled, “Evaluation of the Ventilatory and Respiratory Effects of
        a Restraint Chair on Human Subjects.” Funded by the Institute for the Prevention of In-Custody
        Deaths, Inc, 1/1/07 to 12/31/07. Amount: $11,658


                                                    - 38 -
Case 0:16-cv-62215-WPD Document 101-8 Entered on FLSD Docket 07/18/2018 Page 39 of
                                      118

  PREVIOUS FUNDED RESEARCH (cont):

  13.   Co-Investigator, with Edward Castillo (PI) for study entitled, “California ED Diversion Project
        Evaluation.” funded by the California Healthcare Foundation, 5/15/08 to 10/15/08. Amount:
        $50,990

  14.   Principal Investigator (PI) for study entitled, “Ventilatory Effects of Prone Restraint on Obese Human
        Subjects.” Funded by the Institute for the Prevention of In-Custody Deaths, Inc, 1/1/09 to 12/31/09.
        Amount: $13,423

  15.   Principal Investigator (PI) for study entitled, “FAST TRAC: Finding ACS with Serial Troponin
        Testing for Rapid Assessment.” Funded by the Nanosphere, Inc. 2/1/09 to 2/1/11. Amount: $85,000

  16.   Principal Investigator (PI) for study entitled, “CHOPIN: Copentin Helps in the Early Detection of
        Patients with Acute Myocardial Infarction.” Funded by Brahms AG, 8/1/09 to 8/1/12. Amount:
        $103,950

  17.   Co-Investigator, with Christine Hall for the study titled, “RESTRAINT - Risk of dEath in
        Subjects That Resisted: Assessment of Incidence and Nature of faTal events”, funded by the
        Vancouver Island Health Authority. 7/1/09 to 6/30/11. Amount $50,000

  18.   Co-Investigator for study titled “STAT MERCURY: Studying the Treatment of Acute
        HyperTension: A Multicenter EmeRgency Department Clevidipine Utilization RestrY”
        funded by the Medicines Company, 7/27/10 to 11/1/11. Amount $1400

  19.   Co-Investigator for study titled “A Phase II, Randomized, Double-blind, Placebo-
        controlled Study to Evaluate the Safety and Efficacy of MN-221 when Administered
        Intravenously as an Adjunct to Standard Therapy to Adults with an Acute Exacerbation
        of Asthma.” Study funded by MediciNova, Inc. 1/1/11 to 1/31/12. Amount $50,000

  20.   Principle Investigator for study titled “AKINESIS: Acute Kidney Injury N-gal Evaluation of
        Symptomatic heart failure.” Study funded by Alere and Abbott, 4/1/11 to 6/30/12. Amount $32,000

  21.   Principle Investigator for study titled “Evaluation of Ecallantide (DX-88) for the Acute
        Treatment of Angiotensin Converting Enzyme Inhibitor Induced Angioedema, a Phase II,
        double-blind study. Study funded by Dyax Corporation. 4/1/11 to 6/30/12. Amount $20,000

  22.   Principle Investigator for study titled “REAL: Rapid Evaluation of Acute Kidney Injury with
        NGAL in Acutely Ill Patients in the ICU.” Study funded by Alere, 5/1/11 to 6/30/12. Amount
        $74,435

  23.   Principle Investigator for study titled “A Multi-Center, Open-Label, Surveillance Trial to
        Evaluate the Safety and Efficacy of a Shortened Infusion Time of Intravenous Ibuprofen
        Protocol CPI-CL-015.” Study funded by Cumberland Pharmaceuticals, Inc., 6/1/11 to
        6/30/12. Amount $50,000




                                                    - 39 -
Case 0:16-cv-62215-WPD Document 101-8 Entered on FLSD Docket 07/18/2018 Page 40 of
                                      118

  PREVIOUS FUNDED RESEARCH (cont):

  24.   Co-Investigator, with Edward Castillo (PI) for the study titled, “Restraint Chair Literature
        Review and Policy Gap Analysis", funded by the Ontario Ministry of Community Safety and
        Correctional Services, 7/1/13 to 9/30/13. COS-0010. Amount: $15,000

  25.   Co-Investigator, with Daniel Davis (PI) for the study titled, “Resuscitation Outcomes
        Consortium (ROC) Regional Clinical Center, San Diego”, funded by the NIH, 3/1/10 to
        6/30/14. U01 HL077908-09. Amount: $1,389,389

  26.   Co-Investigator with Edward Castillo (PI) for study entitled, “Diagnostic Evaluation using
        ClearView in Decision Making in the Emergency Room”. Funded by EPIC Research and
        Diagnostics, Inc, 2012-2014. Amount: $650,840.10 (based on 570 total participants).

  27.   Co-Investigator with Edward Castillo (PI) for study entitled, “Point-of-Care Testing for Illicit
        Drugs and Alcohol Intoxication in an Emergency Room”. Funded by the National Institute on
        Drug Abuse through Seacoast Science, Inc., 2013-2015. Amount: $50,163.

  28.   Co-Investigator with Edward Castillo (PI) for study entitled, “Evaluation of downward force
        placed onto prone subjects.” Funded by the Institute for the Prevention of In-Custody Deaths,
        Inc., 2014-2015. Awarded, contract in process. Amount: $7,500.

  29.   Co-Investigator with Edward Castillo (PI) for study entitled, “Acute Bacterial Skin and Skin
        Structure Infection (abSSSI) Practice Pattern Assessment.” Funded by Durata Therapeutics
        International B.V., 2014-2015. Amount: $15,000.

  30.   Co-Investigator with Edward Castillo (PI) for study entitled, “Exploring emergency room
        physician’s knowledge and attitudes concerning the use of appropriate and safe home care as
        an alternative to hospital admission.” Funded by the Gary and Mary West Health Institute,
        2014-2015. Amount: $118,021.

  31.   Co-Investigator with Allyson Kreshak (PI) for study entitled, “Telephone, Text or Type?
        Comparing Tools for Improving Physician-Patient Communication Beyond the Walls of the
        Emergency Department after Discharge.” Funded by the UCSD Academy of Clinician
        Scholars, 2014-2015. Amount: $10,000.

  32.   Principal Investigator (PI) for the study titled, “Resuscitation Outcomes Consortium (ROC)
        Regional Clinical Center, San Diego”, funded by the NIH, 7/1/14 to 12/31/15. U01
        HL077908-09. Amount: NCE

  33.   Principal Investigator (PI) for study entitled, “EXCITATION Study: Unexplained In-Custody
        Deaths: Evaluating Biomarkers of Stress and Agitation.” Study funded by the National
        Institute of Justice, U.S. Department of Justice, 11/1/2012 to 6/30/2016. USDOJ Federal
        Award # 2012-R2-CX-K006. Amount: $431,943

  34.   Principal Investigator (PI) for the study titled, “Resuscitation Outcomes Consortium (ROC)
        Protocol -ALPS”, funded by the NIH, 7/1/13 to 12/31/15. 5U01HL077863-11 subaward
        758500. Amount: $289,003


                                                    - 40 -
Case 0:16-cv-62215-WPD Document 101-8 Entered on FLSD Docket 07/18/2018 Page 41 of
                                      118

  PUBLICATIONS:

  Texts/Books

  1.    Atlas of Emergency Procedures. Rosen P, Chan TC, Vilke GM, Sternbach G (Eds.);
        St. Louis: Mosby, Inc., 2001.

  2.    Atlas of Emergency Procedures. (Edition translated into Spanish) Rosen P, Chan TC, Vilke
        GM, Sternbach G (Eds.); St. Louis: Mosby, Inc., 2005.

  3.    Guidelines for Investigating Officer-Involved Shootings, Arrest-Related Deaths and Deaths in
        Custody. Ross DL, Vilke GM (Eds.); New York and London: Routledge. 2017.

  Book Chapters

  1.    Vilke GM: Head Trauma, Blunt. In: The 5 Minute Emergency Medicine Consult.
        Rosen P, Barkin RM, Hayden SR, Schaider JJ, Wolfe R (Eds.); Philadelphia: Lippincott
        Williams & Wilkins, 1999, pp 472-473.

  4.    Vilke GM: Head Trauma, Penetrating. In: The 5 Minute Emergency Medicine Consult.
        Rosen P, Barkin RM, Hayden SR, Schaider JJ, Wolfe R (Eds.); Philadelphia: Lippincott
        Williams & Wilkins, 1999, 474-475.

  3.    Vilke GM: Urethral Catheterization. In: Atlas of Emergency Procedures. Rosen P,
        Chan TC, Vilke GM, Sternbach G (Eds.); St. Louis: Mosby, Inc., 2001, pp 124-127.

  4.    Vilke GM: Cystostomy. In: Atlas of Emergency Procedures. Rosen P, Chan TC,
        Vilke GM, Sternbach G (Eds.); St. Louis: Mosby, Inc., 2001, pp 128-129.

  5.    Vilke GM: Bladder Aspiration. In: Atlas of Emergency Procedures. Rosen P, Chan TC,
        Vilke GM, Sternbach G (Eds.); St. Louis: Mosby, Inc., 2001, pp 130-131.

  6.    Vilke GM: Dorsal Slit in Phimosis. In: Atlas of Emergency Procedures. Rosen P, Chan TC,
        Vilke GM, Sternbach G (Eds.); St. Louis: Mosby, Inc., 2001, pp 132-133.

  7.    Vilke GM: Manual Paraphimosis Reduction. In: Atlas of Emergency Procedures. Rosen P,
        Chan TC, Vilke GM, Sternbach G (Eds.); St. Louis: Mosby, Inc., 2001, pp 134-135.

  8.    Vilke GM: Zipper Removal. In: Atlas of Emergency Procedures. Rosen P, Chan TC,
        Vilke GM, Sternbach G (Eds.); St. Louis: Mosby, Inc., 2001, pp 136-137.

  9.    Hayden SR, Silfvast T, Deakin CD, Vilke GM: Surgical Procedures. In: Prehospital Trauma
        Care. Soreide E, Grande CM (Eds.); New York: Marcel Dekker, Inc., 2001, pp 323-354.

  10.   Hayden SR, Thierbach A, Vilke GM, Sugrue M: Patient Turnover: Arriving and Interacting
        in the Emergency Department. In: Prehospital Trauma Care. Soreide E, Grande CM (Eds.);
        New York: Marcel Dekker, Inc., 2001, pp 737-751.




                                                  - 41 -
Case 0:16-cv-62215-WPD Document 101-8 Entered on FLSD Docket 07/18/2018 Page 42 of
                                      118

  PUBLICATIONS, continued:

  Book Chapters

  11.   Vilke GM: Cervical Spine Injury, Adult. In: Rosen and Barkin’s 5-Minute Emergency
        Medicine Consult (second edition). Schaider J, Hayden SR, Wolfe R, Barkin RM, Rosen P
        (Eds.); Philadelphia: Lippincott Williams & Wilkins, 2003, pp 1048-1049.

  12.   Vilke GM: Extremity Trauma, Penetrating. In: Rosen and Barkin’s 5-Minute Emergency
        Medicine Consult (second edition). Schaider J, Hayden SR, Wolfe R, Barkin RM, Rosen P
        (Eds.); Philadelphia: Lippincott Williams & Wilkins, 2003, pp 394-395.

  13.   Vilke GM: Head Trauma, Blunt. In: Rosen and Barkin’s 5-Minute Emergency Medicine
        Consult (second edition). Schaider J, Hayden SR, Wolfe R, Barkin RM, Rosen P (Eds.);
        Philadelphia: Lippincott Williams & Wilkins, 2003, pp 476-477.

  14.   Vilke GM: Head Trauma, Penetrating. In: Rosen and Barkin’s 5-Minute Emergency
        Medicine Consult (second edition). Schaider J, Hayden SR, Wolfe R, Barkin RM, Rosen P
        (Eds.); Philadelphia: Lippincott Williams & Wilkins, 2003, pp 478-479.

  15.   Vilke GM: Ring/Constricting Band Removal. In: Rosen and Barkin’s 5-Minute Emergency
        Medicine Consult (second edition). Schaider J, Hayden SR, Wolfe R, Barkin RM, Rosen P
        (Eds.); Philadelphia: Lippincott Williams & Wilkins, 2003, pp 980-981.

  16.   Vilke GM: Warts. In: Rosen and Barkin’s 5-Minute Emergency Medicine Consult (second
        edition). Schaider J, Hayden SR, Wolfe R, Barkin RM, Rosen P (Eds.); Philadelphia:
        Lippincott Williams & Wilkins, 2003, pp 1222-1223.

  17.   Vilke GM: Fournier’s Gangrene. In: Rosen and Barkin’s 5-Minute Emergency Medicine
        Consult (second edition). Schaider J, Hayden SR, Wolfe R, Barkin RM, Rosen P (Eds.);
        Philadelphia: Lippincott Williams & Wilkins, 2003, pp 430-431.

  18.   Vilke GM: Variants of Normal. In: ECG in Emergency Medicine and Acute Care. Chan TC,
        Brady WJ, Harrigan RA, Ornato JP, Rosen P (Eds.); Philadelphia: Elsevier Mosby, 2005,
        pp 12-15.

  19.   Vilke GM: Keloid Formation. In: Greenberg’s Text-Atlas of Emergency Medicine.
        Greenberg MI, Hendrickson RG, Silverberg M (Eds.); Philadelphia: Lippincott Williams and
        Wilkins, 2005, p 684.

  20.   Vilke GM: Distal Digital Amputation. In: Greenberg’s Text-Atlas of Emergency Medicine.
        Greenberg MI, Hendrickson RG, Silverberg M (Eds.); Philadelphia: Lippincott Williams and
        Wilkins, 2005, p 685.

  21.   Vilke GM: Painful Syndromes of the Hand and Wrist. In: Harwood-Nuss’ Clinical Practice
        of Emergency Medicine fourth edition. Editor-in-chief: AB Wolfson. Philadelphia: Lippincott
        Williams and Wilkins, 2005, pp 536-540.




                                                 - 42 -
Case 0:16-cv-62215-WPD Document 101-8 Entered on FLSD Docket 07/18/2018 Page 43 of
                                      118

  PUBLICATIONS, continued:

  Book Chapters

  22.   Vilke GM: Neck Holds. In: Sudden Deaths in Custody. Ross DL, Chan TC (Eds.);
        New Jersey: Humana Press, 2006, pp 15-38.

  23.   Sloane C, Vilke GM: Riot Control Agents, Tasers and Other Less Lethal Weapons.
        In: Sudden Deaths in Custody. Ross DL, Chan TC (Eds.); New Jersey: Humana Press, 2006,
        pp 113-138.

  25.   Vilke GM: Clostridium botulinum Toxin (Botulism) Attack. In: Disaster Medicine.
        Ciottone GR (Ed.); Boston: Elsevier Mosby, 2006, pp 701-704.

  26.   Vilke GM: Viral Agents (Section 10, Part 2). Section Editor. In: Disaster Medicine.
        Ciottone GR (Ed.); Boston: Elsevier Mosby, 2006, pp 661-697.

  27.   Patel R, Reynoso J, Vilke GM: Genitourinary Trauma. In: Emergency Medicine Handbook.
        Clinical Concepts for Clinical Practice. Roppolo LP, Davis D, Kelly SP, Rosen P (Eds.);
        Philadelphia: Elsevier Mosby, 2007, pp 164-173.

  28.   Vilke GM: Extremity Trauma, Penetrating. In: Rosen & Barkin's 5-Minute Emergency
        Medicine Consult (third edition). Schaider JJ, Hayden SR, Wolfe RE, Barkin RM, Rosen P
        (Eds.); Philadelphia: Lippincott Williams & Wilkins, 2007, pp 392-393.

  29.   Vilke GM: Fournier’s Gangrene. In: Rosen & Barkin's 5-Minute Emergency Medicine
        Consult (third edition). Schaider JJ, Hayden SR, Wolfe RE, Barkin RM, Rosen P (Eds.);
        Philadelphia: Lippincott Williams & Wilkins, 2007, pp 428-429.

  30.   Vilke GM: Head Trauma, Blunt. In: Rosen & Barkin's 5-Minute Emergency Medicine
        Consult (third edition). Schaider JJ, Hayden SR, Wolfe RE, Barkin RM, Rosen P (Eds.);
        Philadelphia: Lippincott Williams & Wilkins, 2007, pp 474-475.

  31.   Vilke GM: Head Trauma, Penetrating. In: Rosen & Barkin's 5-Minute Emergency Medicine
        Consult (third edition). Schaider JJ, Hayden SR, Wolfe RE, Barkin RM, Rosen P (Eds.);
        Philadelphia: Lippincott Williams & Wilkins, 2007, pp 476-477.

  32.   Vilke GM: Spine Injury: Cervical, Adult. In: Rosen & Barkin's 5-Minute Emergency
        Medicine Consult (third edition). Schaider JJ, Hayden SR, Wolfe RE, Barkin RM, Rosen P
        (Eds.); Philadelphia: Lippincott Williams & Wilkins, 2007, pp 1040-1041.

  33.   Vilke GM: Warts. In: Rosen & Barkin's 5-Minute Emergency Medicine Consult (third
        edition). Schaider JJ, Hayden SR, Wolfe RE, Barkin RM, Rosen P (Eds.); Philadelphia:
        Lippincott Williams & Wilkins, 2007, pp 1224-1225.




                                                 - 43 -
Case 0:16-cv-62215-WPD Document 101-8 Entered on FLSD Docket 07/18/2018 Page 44 of
                                      118

  PUBLICATIONS, continued:

  Book Chapters

  35.   Vilke GM, Sloane CM, Chan TC. Accelerated Triage for Medical Evaluations Following
        CED Activations. In: Critical Issues in Policing Series: Strategies for Resolving Conflict and
        Minimizing Use of Force. Ederheimer JA (Ed); Washington DC, Police Executive Research
        Forum, 2007, pp 108-109.

  36.   Christensen EF, Deakin C, Vilke GM: Prehospital Care and Trauma Systems. In: Trauma:
        Emergency Resuscitation, Perioperative Anesthesia, Surgical Management, Volume I. Wilson
        WC, Grande CM, Hoyt DB (Eds.); New York: Informa Healthcare USA, Inc, 2007, pp 43-58.

  36    Chan TC, Vilke GM. In: TASER® Conducted Electrical Weapons: Physiology, Pathology,
        and Law. Kroll MW, Ho JD (Eds.); New York: Springer, 2009, pp 109-118.

  37.   Vilke GM: Hand and Wrist Pain. In: Harwood-Nuss’ Clinical Practice of Emergency
        Medicine fifth edition. Editor-in-chief: AB Wolfson. Philadelphia: Lippincott Williams and
        Wilkins, 2010, pp 711-714.

  38.   Wilson MP, Vilke GM. Not all ear pain is acute otitis media…and not all require antibiotics!
        In: Avoiding Common Errors in the Emergency Department. Mattu A, Chanmugam AS,
        Swadron SP, Tibbles CD, Woolridge DP (Eds) Philadelphia: Lippincott Williams and
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                                                 - 66 -
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                                                - 67 -
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                                      118



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                                                - 68 -
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                                               - 69 -
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                                                  - 70 -
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                                                 - 71 -
Case 0:16-cv-62215-WPD Document 101-8 Entered on FLSD Docket 07/18/2018 Page 72 of
                                      118



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                                                 - 72 -
Case 0:16-cv-62215-WPD Document 101-8 Entered on FLSD Docket 07/18/2018 Page 73 of
                                      118



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                                               - 73 -
Case 0:16-cv-62215-WPD Document 101-8 Entered on FLSD Docket 07/18/2018 Page 74 of
                                      118



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                                                   - 74 -
Case 0:16-cv-62215-WPD Document 101-8 Entered on FLSD Docket 07/18/2018 Page 75 of
                                      118



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                                                 - 84 -
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                                                 - 94 -
Case 0:16-cv-62215-WPD Document 101-8 Entered on FLSD Docket 07/18/2018 Page 95 of
                                      118



  PUBLICATIONS, continued:

  Abstracts

  246.   Brennan JJ, Chan TC, Vilke GM, Hsia RY, Killeen JK, Castillo EM. Geriatric visits to
         California Emergency Department from 2008 through 2014. Ann Emerg Med 2017; 70(4):
         S158-S159.

  247.   Coyne CJ, Ence T, Smyres C, Brennan J, Castillo E, Vilke GM. The relationship between
         medication knowledge, perceived importance, and medication adherence. Ann Emerg Med
         2017; 70(4): S169.




                                               - 95 -
Case 0:16-cv-62215-WPD Document 101-8 Entered on FLSD Docket 07/18/2018 Page 96 of
                                      118



  ORAL PRESENTATIONS AT NATIONAL MEETINGS:

  1.    Chan TC, Buchanan J, Anderson M, Vilke GM: Patient ethnicity and age in prehospital
        emergency ambulance use and acuity rates. NAEMSP Mid-Year Meeting, Lake Tahoe,
        Nevada; July 1998.

  2.    Vilke GM, Dunford JV, Buchanan J, Chan TC: Are opiate overdose deaths related to patient
        release after naloxone? ACEP Research Forum, San Diego, California; October 1998.

  3.    Gerling MC, Hamilton RS, Davis DP, Morris GF, Vilke GM, Hayden SR: The effects of
        cervical spine immobilization on technique and laryngoscope blade selection on an unstable
        cervical spine injury in a cadaver model of intubation. ACEP Research Forum, San Diego,
        California; October 1998.

  4.    Vilke GM, Chan TC, Ray LU, Anderson ME: Use of prehospital crash injury data to assess
        regional automobile safety restraint use. NAEMSP Annual Meeting, Marcos Island, Florida;
        January 1999.

  5.    Chew GS, Chan TC, Bramwell K, Davis DP, Vilke GM: Does gastric distention from air
        insufflation affect the accuracy of the syringe esophageal detector device in detecting
        esophageal intubation? SAEM Western Regional Research Forum, Redondo Beach,
        California; March 1999.

  6.    Davis DP, Kimbro T, Vilke GM: The use of midazolam for prehospital rapid-sequence
        intubation may be associated with a dose-related increase in hypotension. NAEMSP Annual
        Meeting, Dana Point, California; January 2000.

  7.    Marino AT, Sharieff G, Gerhart AE, Chan TC, Vilke GM: The efficacy and complication
        rate of prehospital midazolam for the treatment of pediatric seizures. NAEMSP Annual
        Meeting, Dana Point, California; January 2000.

  8.    Eisele JW, Chan T, Vilke G, Neuman T, Clausen J: Effect of weight placed on the back of
        subjects in the hobble restraint position. American Academy of Forensic Sciences Annual
        Meeting, Reno, Nevada; February 2000.

  9.    Chan TC, Vilke GM, Neuman TS, Clark RF, Clausen JL: The effect of oleoresin capsicum
        spray inhalation on pulmonary and respiratory function. SAEM Western Regional Research
        Forum, Portland, Oregon; April 2000.

  10.   Vilke GM, Chan TC, Seltzer A, Fisher R, Dunford JV: Outcome of out-of-hospital refusal
        of paramedic transport by parents of pediatric patients. State of California EMS Authority
        EMS for Children Annual Conference, San Diego, California; November 2000.

  11.   Deitch S, Vilke GM, Marino A, Vroman D, Chan TC: Effect of prehospital use of
        nitroglycerine on EKG findings in patients with chest pain. American Academy of
        Emergency Medicine Annual Conference, Orlando, Florida; March 2001.



                                                  - 96 -
Case 0:16-cv-62215-WPD Document 101-8 Entered on FLSD Docket 07/18/2018 Page 97 of
                                      118



  ORAL PRESENTATIONS AT NATIONAL MEETINGS, continued:

  12.   Vilke GM, Steen PJ, Smith AM, Chan TC: Pediatric intubation by paramedics: The San Diego
        County experience. SAEM Western Regional Research Forum, Irvine, California; March 2001.

  13.   Davis DP, Ochs M, Hoyt DB, Dunford JV, Vilke GM: The use of the Combitube as a salvage
        airway device for paramedic RSI. SAEM Western Regional Research Forum, Irvine,
        California; March 2001.

  14.   Chan TC, Dunford JV, Vilke GM: Impact of a community multidisciplinary homeless
        outreach team. SAEM Annual Meeting, Atlanta, Georgia; May 2001.

  15.   Chan TC, Dunford JV, Vilke GM: Impact of a community multidisciplinary homeless
        outreach team. CAL/ACEP Scientific Assembly, Santa Clara, California; June 2001.
        (Won Award for Best Oral Presentation)

  16.   Valentine C, Davis D, Ochs M, Hoyt D, Bailey D, Vilke G: The use of the Combitube as a
        salvage airway device for paramedic rapid sequence induction. NAEMSP Annual Meeting,
        Tucson, Arizona; January 2002.

  17.   Vilke GM, Lev R, Castillo EM, Metz MA, Murrin PA, Chan TC: Prospective countywide
        trial to decrease ambulance diversion hours. SAEM Western Regional Meeting, Scottsdale,
        Arizona; April 2003.

  18.   Vilke GM, Lev R, Castillo EM, Murrin PA, Chan TC: Prospective countywide trial to
        decrease ambulance diversion hours. SAEM Annual Meeting, Boston, Massachusetts,
        May 2003.

  19.   Vilke GM, Lev R, Castillo EM, Metz MA, Murrin PA, Chan TC: San Diego County
        improved patient destination trial to decrease emergency department diversion hours and
        diverted patients. American College of Emergency Physicians Research Forum, Boston,
        Massachusetts; October 2003.

  20.   Vilke G, Castillo E, Metz M, Murrin P, Ray LU, Lev R, Chan T: Community trial to
        decrease ambulance diversion of patients and hours. NAEMSP National Conference, Tucson,
        Arizona; January 2004.

  21.   Marcelyn Metz, Patricia Murrin, Gary M. Vilke: The three-phase EMS cardiac arrest model
        for ventricular fibrillation. ENA Annual Meeting; San Diego, California; October 2004.

  22.   Michalewicz, BA, TC Chan, GM Vilke, SS Levy, TS Neuman, and FW Kolkhorst:
        Ventilatory and metabolic demands during aggressive physical restraint in healthy adults.
        American College of Sports Medicine Annual Meeting, Denver, CO; June 2006. [Medicine
        and Science in Sports and Exercise 38(5 Supplement), 2006].

  23.   Vilke GM, Ali S, Simmons T, Witucki P, Wilson MP. Does an alcohol-based sanitizer impact
        breathalyzer levels? SAEM Annual Meeting, Chicago, Illinois; May 2012.


                                                  - 97 -
Case 0:16-cv-62215-WPD Document 101-8 Entered on FLSD Docket 07/18/2018 Page 98 of
                                      118



        SELECTED SPEAKING ENGAGEMENTS:

  1.    “Death of a Child: How to Treat the Survivors” -- Grand Rounds, Department of Emergency
        Medicine, UCSD Medical Center; April 1996.

  2.    “Assessing GCS and the Field Neurologic Exam” -- Palomar College Paramedic Training;
        June 1998.

  3.    “Prehospital Shock”; “Management of the Field Trauma Patient” -- Mercy Air, Ventura
        County Lecture Series; August 1998.

  4.    “ER: Not Just a Television Show, But a Field of Research” -- Howard Hughes Foundation
        Lecture Series, University of California, San Diego; November 1998.

  5.    “Multi-Casualty Incident” -- UCSD Medical Center Trauma Conference; March 1999.

  6.    “Managing the Prehospital Multi-Casualty Incident” -- Southwestern College Paramedic
        Training Institute; May 1999.

  7.    “Aeromedical Transport: The Past and Current Environment” -- Trauma Morbidity and
        Mortality Conference, Children’s Hospital, San Diego, California; July 1999.

  8.    “Altitude Medicine”; “Carbon Monoxide Poisoning and Treatment Options”; “Aeromedical
        Transport Options”; “Emergent Airway Management Options” -- Rural Emergency Medicine
        Conference, Jackson Hole, Wyoming; August 1999.

  9.    “Abdominal and Chest Trauma in Sports” -- First Annual San Diego County Athletic
        Coaches Workshop, San Diego, California; June 2000.

  10.   “Tabletop Discussion on Chemical Weapon of Mass Destruction” -- Facilitator of Tabletop
        Training for San Diego County Metropolitan Medical Strike Team; July 2000.

  11.   “Pediatric IV Access”; “Spinal Immobilization”; “Children with Special Health Care Needs”;
        “Cardiovascular Emergencies” -- American Academy of Pediatrics Pediatric Education for
        Prehospital Professionals Conference, San Diego, California; November 2000.

  12.   “New Frontiers in Field Management of Pediatric Status Epilepticus” -- State of California
        EMS Authority Annual EMS for Children Conference, San Diego, California; November 2000.

  13.   “EMS Medical Control: Avoiding your Day in Court” -- ACEP’s Emergency Medicine
        Connection Conference, San Diego, California; March 2001.

  14.   “Pediatric Intubations by Paramedics” -- San Diego Chapter of the Committee on Pediatric
        Emergency Medicine; April 2001.

  15.   “Warfare and Terrorism: A Review of Chemical Agents -- San Diego County Metropolitan
        Medical Strike Team Training; August 2001.


                                                 - 98 -
Case 0:16-cv-62215-WPD Document 101-8 Entered on FLSD Docket 07/18/2018 Page 99 of
                                      118



  SELECTED SPEAKING ENGAGEMENTS, continued:

  16.   “Bioterrorism and San Diego County” -- Council of Community Clinics Meeting;
        October 2001.

  17.   “Bioterrorism and San Diego County Readiness” -- CTN interview with Bill Horn;
        October 2001.

  18.   “Future of Prehospital Care” -- Keynote Speaker, Southwestern Paramedic College
        Graduation; November 2001.

  19.   “Biological Agents for Terrorism” -- San Diego County Metropolitan Medical Strike Team
        Training; November 2001.

  20.   “Clinical Aspects of Bioterrorist Agents” -- Palomar Paramedic College; November 2001.

  21.   “Clinical Aspects of Bioterrorism” -- Grand Rounds, Fallbrook Hospital; January 2002.

  22.   “Bioterrorism and San Diego County Readiness” -- Poway Town Hall Meeting; January 2002.

  23.   “Bioterrorist Preparedness” -- National Medical Association, San Diego County; January 2002.

  24.   “Chemical Agents of Terrorism: Diagnosis and Treatment” -- Topics and Advances in
        Internal Medicine, San Diego, California; March 2002.

  25.   “Bioterrorism: Implications for the Legal and Domestic Community” -- Thomas Jefferson
        School of Law, San Diego, California; April 2002.

  26.   “Prehospital Management of Pediatric Seizures” -- EMS-Children Annual Conference;
        San Diego, California; November 2002.

  27.   “Paramedicine – Past, Present and Future” -- Keynote Speaker, Southwestern Paramedic
        College Graduation; San Diego, California; December 2002.

  28.   “Medical Group Preparedness: How would you Respond to a Possible Victim of
        Bioterrorism?” -- Bioterrorism Preparedness Training Conference; San Diego California;
        January 2003.

  29.   “Update on Bioterrorism” -- The Western States Winter Conference on Emergency Medicine;
        Park City, Utah; January 2003.

  30.   “Academic Emergency Medicine and Research Opportunities” -- San Diego Health
        Information Association, San Diego, California; February 11, 2003.

  32.   “Blast and Radiological Injuries: Myths and Realities” -- San Diego County Metropolitan
        Medical Strike Team Training; San Diego, California; August 2003.



                                                 - 99 -
Case 0:16-cv-62215-WPD Document 101-8 Entered on FLSD Docket 07/18/2018 Page 100 of
                                      118



   SELECTED SPEAKING ENGAGEMENTS, continued:

   33.   “Clinical Aspects of Bioterroism” -- American Correctional Health Services Association,
         California and Nevada Chapter Annual Conference, San Diego, California; September 2003.

   34.   “Bioterrorism” -- UCSD/SDSU General Preventive Medicine Residency Lecture Series,
         La Jolla, California; October 2003.

   35.   “Prehospital Pediatric Airway Obstruction” – Children’s Hospital Grand Rounds, San Diego,
         California; July 2004.

   36.   “Future of Healthcare in San Diego: Trends Impacting our Delivery System” -- San Diego
         Organization of Healthcare Leaders, San Diego, California; August 2004.

   36.   “Firestorm 2003” -- Children’s Hospital Grand Rounds, San Diego, California; January 2004.

   37.   “EMS research: Unique ethical and regulatory issues” -- Applied Research Ethics National
         Association Annual meeting, San Diego, California; October 2004.

   38.   “What happens when you call 911?” -- San Diego Sports Medicine Foundation, San Diego,
         California; October 2004.

   39.   “Making the Metropolitan Medical Response System Work for You" -- Emergency Response
         2004 Conference, San Diego, California; November 2004.

   40.   “San Diego County Emergency Department Ambulance Bypass - Past, Present, Future” --
         Urgent Matters Briefing, San Diego, California; November 2004.

   41.   “San Diego County Emergency Department Ambulance Bypass - Past, Present, and Future” --
         San Diego Community Emergency Departments, San Diego, California; December 2, 2004.

   42.   “Emergency Response Management for Efficiency of Care and Fiscal Consideration” --
         American Correctional Health Services Association, Oakland, California; April 2, 2005.

   43.   “Conducted Energy Devices – Medical Updates and Issues” -- Police Executive Research
         Forum, Houston, Texas; October 18, 2005.

   44.   “Conducted Energy Devices Proximity Deaths and Medical Response” -- 2005 Critical
         Issues in Policing Series, Police Executive Research Forum, San Diego, California;
         December 8, 2005.

   45.   “Conductive Electrical Devices (Tasers) and Patients with Excited Delirium for Law
         Enforcement and Emergency Medical Personnel” -- The U.S. Metropolitan Municipalities
         EMS Medical Directors Annual Meeting, Dallas, Texas; February 16, 2006.

   46.   “Tasers and Sudden Death” -- Keynote speaker at One Day Symposium on In-Custody
         Deaths by the Florida Sheriffs Association, Orlando, Florida; June 1, 2006.


                                                  - 100 -
Case 0:16-cv-62215-WPD Document 101-8 Entered on FLSD Docket 07/18/2018 Page 101 of
                                      118



   SELECTED SPEAKING ENGAGEMENTS, continued:

   47.   “Medical Aspects of the Use of Force Continuum” -- Department of Justice Community
         Oriented Policing Services (COPS) Conference, Washington, DC; July 29, 2006.

   48.   “Resuscitation Outcomes Consortium” -- 7th Annual University of California Neurotrauma
         Meeting, Carmel, California; August 3, 2006.

   49.   “Use of Force: Sudden Death Myths and Excited Delirium” -- The Commission of
         Accreditation for Law Enforcement Agencies (CALEA) Less Lethal Technology Working
         Group Meeting, Washington, DC; September 10, 2006.

   50.   “Police In-Custody Deaths and the Taser Controversy” -- UCSD/SDSU General Preventive
         Medicine Residency Lecture Series, La Jolla, California; September 2006.

   51.   “Conductive Energy Devices: The medical aspects of Taser Electronic Control Devices
         (ECDs) and other Energy Devices” – Sudden Death, Excited Delirium and In-Custody Death
         Conference by the Institute for the Prevention of In-Custody Deaths, Inc. Las Vegas,
         Nevada; November 16-17, 2006.

   52.   “Cardiac, Respiratory and Metabolic Effects of EMD” – Study of Deaths Following Electro
         Muscular Disruption, Meeting of the Chief Medical Panel for the National Institute of Justice.
         Washington D.C.; January 9, 2007.

   53.   “The Medical Implications of Tasers and the Impact on EMS ” – National Association of
         EMS Physicians National Conference. Naples, FL; January 12, 2007.

   54.   “Excited Delirium” - Solutions For Corrections Seminar for the California State Sheriff’s
         Association. Ontario, CA; February 7, 2007.

   55.   “Excited delirium, positional asphyxia and restraint” -- EMS Today Conference, Baltimore,
         Maryland; March 10, 2007.

   56.   “Medical implications of Tasers and other Conductive Energy Devices” -- EMS Today
         Conference, Baltimore, Maryland; March 10, 2007.

   57.   “Excited Delirium” -- American Correctional Health Services Association, Oakland,
         California; September 19, 2007.

   58.   “Human Physiologic Effects of Tasers” – Study of Deaths Following Electro Muscular
         Disruption, Meeting of the Chief Medical Panel for the National Institute of Justice.
         Washington D.C.; September 27, 2007.

   59. “The clinical impacts of TASER and other Conductive Energy Devices on Humans: A Review
       of the latest Medical Research” – Sudden Death, Excited Delirium and In-Custody Death
       Conference by the Institute for the Prevention of In-Custody Deaths, Inc. Las Vegas, Nevada;
       November 28-30, 2007.


                                                   - 101 -
Case 0:16-cv-62215-WPD Document 101-8 Entered on FLSD Docket 07/18/2018 Page 102 of
                                      118




   SELECTED SPEAKING ENGAGEMENTS, continued:

   60.   “Physiological Effects of Tasers” – The City Council of Miami-Dade. Miami, Florida;
         January 17, 2008.

   61.   “Excited Delirium: What is it? Why does it kill? What do we need to know about it?
         Western States Winter Conference on Emergency Medicine. Park City, Utah, February 8,
         2008.

   62.   “Medical Effects of Tasers” – The City Council of Houston. Houston, Texas; March 10,
         2008.

   63.   “Less Lethal Weapons” - Emergency Nurses Association, San Diego Chapter. San Diego,
         California; April 18, 2008.

   64.   “The Clinical Impacts of TASER and other Conductive Energy Devices on Humans and Why
         People Die Afterwards” -- American Correctional Health Services Association, San Diego,
         California; September 17, 2008.

   65.   “Police In-Custody Deaths and Excited Delirium” -- UCSD/SDSU General Preventive
         Medicine Residency Lecture Series, La Jolla, California; October 2008.

   66.   “The Clinical Impacts of TASER and other Conductive Energy Devices on Humans” –
         Sudden Death, Excited Delirium and In-Custody Death Conference by the Institute for the
         Prevention of In-Custody Deaths, Inc. Las Vegas, Nevada; October 29, 2008.

   67.   “Agitated Delirium – Role of Illicit Drug Use in Sudden Restraint Death” Western Medical
         Toxicology Fellowship Conference. San Diego, California; April 29, 2009.

   68.   “Conducted Energy Devices: Are They Safe Options?” Excited Delirium Conference by the
         Canadian Institute for the Prevention of In-Custody Deaths, Inc. Niagara Falls, Canada; May
         26, 2009.

   69.   “The Physiologic Effects of the Taser on Humans” UCSD Biomedical and Clinical Research
         Seminars. San Diego, California; June 2, 2009.

   70.   “The Taser-Plastic Surgery Interface” UCSD Department of Plastic Surgery Grand Rounds.
         San Diego, California; June 17, 2009.

   71.   “ECD Research Update and Safety Issues” – Sudden Death, Excited Delirium and In-Custody
         Death Conference by the Institute for the Prevention of In-Custody Deaths, Inc. Las Vegas,
         Nevada; November 12, 2009.

   72.   “Use of the Restraint Chair and Positional Asphyxia” – Southern California Jail Manager’s
         Association. Temecula, California; January 21, 2010.



                                                  - 102 -
Case 0:16-cv-62215-WPD Document 101-8 Entered on FLSD Docket 07/18/2018 Page 103 of
                                      118



   SELECTED SPEAKING ENGAGEMENTS, continued:

   73.   “Excited Delirium Challenges and Best ER Practices” Excited Delirium Conference by the
         Canadian Institute for the Prevention of In-Custody Deaths, Inc. Niagara Falls, Canada; April
         19, 2010.

   74.   “Excited Delirium and TASERs: What Physicians Need to Know” – Grand Rounds Scripps
         Encinitas Hospital. Encinitas, California; July 15, 2010.

   75. “Excited Delirium and TASERs: What Physicians Need to Know” – Grand Rounds
        University Medical Center. Las Vegas Nevada; August 10, 2010.

   76.   “Review of ECD Research and Reported Cardiac Capture” – Sudden Death, Excited Delirium
         and In-Custody Death Conference by the Institute for the Prevention of In-Custody Deaths,
         Inc. Las Vegas, Nevada; November 17, 2010.

   76.   “The Science Behind the American Heart Association ACLS Guidelines” – Puerto Vallarta
         ACLS Resuscitation Conference. Puerto Vallarta, Mexico; February 18, 2011.

   77.   “The Science Behind the American Heart Association ACLS Guidelines” – Cabo San Lucas
         ACLS Resuscitation Conference. Cabo San Lucas, Mexico; March 25, 2011.

   78.   “ROC Cardiac Arrest Outcomes” – San Diego Resuscitation Conference. San Diego,
         California; April 9, 2011.

   79.   “Do Electronic Control Devices Kill Humans: Review of the Data” – Sudden Death, Excited
         Delirium and In-Custody Death Conference by the Institute for the Prevention of In-Custody
         Deaths, Inc. Las Vegas, Nevada; November 16, 2011.

   80.   “Evaluation After Choking or Strangulation” – UCSD Forensic Nursing Conference. San
         Diego, California; April 28, 2012.

   81.   “Prehospital Hypothermia for Cardiac Arrest” – Santa Clara County EMS Conference. San
         Jose, California; May 23, 2012.

   82.   “The Science Behind the American Heart Association ACLS Guidelines” – Cabo San Lucas
         ACLS Resuscitation Conference. Cabo San Lucas, Mexico; August 21, 2012.

   83.   “Acute Cerebral Accidents” – Hermosillo ACLS Resuscitation Conference. Hermosillo,
         Sonora, Mexico; September 11, 2012.

   84.   “Excited Delirium Syndrome: TASERS, Restraints, and Sudden Death” – Emergency Nurses
         Association Annual Conference. San Diego, California; September 15, 2012.

   85.   “Electronic Control Devices and the not so Shocking Truth about their Lethality” – Sudden
         Death, Excited Delirium and In-Custody Death Conference by the Institute for the Prevention
         of In-Custody Deaths, Inc. Las Vegas, Nevada; November 14, 2012.


                                                   - 103 -
Case 0:16-cv-62215-WPD Document 101-8 Entered on FLSD Docket 07/18/2018 Page 104 of
                                      118



   SELECTED SPEAKING ENGAGEMENTS, continued:

   86.   “Medical Evaluation and Detection of Dementia and Delirium” – Annual Update on
         Behavioral Emergencies Conference. Las Vegas, Nevada, December 5, 2012.

   87.   “Acute Cerebral Accidents” – Puerto Vallarta Resuscitation Conference. Puerto Vallarta
         Mexico; January 17, 2013.

   88.   “Excited Delirium Syndrome: TASERS, Restraints, and Sudden Death” – San Diego County
         Emergency Nurses Association 911 Conference. San Diego, California; April 19, 2013.

   89.   “Acute Cerebral Accidents” – Cabo San Lucas Resuscitation Conference. Cabo San Lucas
         Mexico; April 27, 2013.

   90.   “Acute Myocardial Infarction” – Mazatlan Resuscitation Conference. Mazatlan Mexico;
         May 7, 2013.

   91.   “Hypothermia Post Cardiac Arrest” –Acapulco Resuscitation Conference. Acapulco,
         Mexico; May 28, 2013.

   92.   “Bath Salts and In-Custody Death”- National Sheriff’s Association. Charlotte, NC; June 25,
         2013.

   93.   “Updates in Cardiac Arrest: The ROC Trials” – Mexico Association of Emergency Medicine
         Emergency Update Conference. Mexico City, Mexico; June 28, 2013.

   94.   “Management of Head Trauma” – Mexico Association of Emergency Medicine Emergency
         Update Conference. Mexico City, Mexico; June 28, 2013.

   95.   “Hypothermia Post Cardiac Arrest” –La Paz Resuscitation Conference. La Paz, Mexico; July
         22, 2013.

   96.   “Management of Head Trauma” – Mexico Association of Emergency Medicine Emergency
         Update Conference. Monterrey, Mexico; September 26, 2013.

   97.   “Updates in Cardiac Arrest: The ROC Trials” – Mexico Association of Emergency Medicine
         Emergency Update Conference. Monterrey, Mexico; September 26, 2013.

   98.   “Risk Management and Minimizing Malpractice Exposure” – UCSD Department of
         Orthopedics Grand Rounds, San Diego, CA October 2, 2013.

   99.   “Decreasing Your Risk in Labor and Delivery” – UCSD 9th Annual Perinatal Symposium,
         San Diego, CA October 11, 2013.

   100. “Excited Delirium Syndrome: TASERS, Restraints, and Sudden Death” – UCSD Department
        of Emergency Medicine Grand Rounds, San Diego, CA November 11, 2013.



                                                  - 104 -
Case 0:16-cv-62215-WPD Document 101-8 Entered on FLSD Docket 07/18/2018 Page 105 of
                                      118



   SELECTED SPEAKING ENGAGEMENTS, continued:

   101. “Excited Delirium Syndrome” – Annual Update on Behavioral Emergencies Conference.
        Orlando, Florida; December 12, 2013.

   102. “The importance of CT on the initial evaluation of a trauma patient: ABC or AB-CT ?” –
        Primero Simposium Internacional BNH con UCSD Celebrado en Los Cabos. Los Cabos,
        Mexico; December 7, 2013.

   103. “Management of Head Trauma” –Emergency Medicine Update Conference. Puerto Vallarta,
        Mexico; December 18, 2013.

   104. “Updates in Cardiac Arrest: The ROC Trials” – Emergency Medicine Update Conference.
        Puerto Vallarta, Mexico; December 18, 2013.

   105. “Pulmonary Embolism: Evaluation and Treatment”- 25th Annual Mexico Emergency
        Medicine Congress. Acapulco, Mexico; February 20, 2014.

   106. “Management of Head Trauma” –Emergency Medicine Update Conference. Puerto Vallarta,
        Mexico; March 5, 2014.

   107. “Updates in Cardiac Arrest: The ROC Trials” – Emergency Medicine Update Conference.
        Puerto Vallarta, Mexico; March 5, 2015.

   108. “Management of Burns” –Trauma Update Conference. Puerto Vallarta, Mexico; April 3,
        2014.

   109. “Management of Head Trauma” –Trauma Update Conference. Puerto Vallarta, Mexico;
        April 3, 2014.

   110. “Cuffs, Chains and Chairs” – Restraint and In-Custody Death Conference by the Institute for
        the Prevention of In-Custody Deaths, Inc. Las Vegas, Nevada; April 24, 2014.

   111. “Management of Burns” –Trauma Update Conference. Los Cabos, Mexico; June 5, 2014.

   112. “Management of Head Trauma” - Primera Feria Annual de la Salud. Guadalajara, Mexico;
        July 18, 2014

   113. “Management of Burns” - Primera Feria Annual de la Salud. Guadalajara, Mexico; July 18,
        2014.

   114. “Updates in Cardiac Arrest: The ROC Trials” – Primera Feria Annual de la Salud.
        Guadalajara, Mexico; July 18, 2014.

   115. “Pulmonary Embolism: Evaluation and Treatment”- Primera Feria Annual de la Salud.
        Guadalajara, Mexico; July 18, 2014.



                                                 - 105 -
Case 0:16-cv-62215-WPD Document 101-8 Entered on FLSD Docket 07/18/2018 Page 106 of
                                      118



   SELECTED SPEAKING ENGAGEMENTS, continued:

   116. “Risk Management and Minimizing Malpractice Exposure” – UCSD Department of
        Anesthesia Pain Service Grand Rounds, San Diego, CA September 24, 2014.

   117. “The ABCs of CPR” –Huatulco Resuscitation Conference. Huatulco, Mexico; October 2,
        2014.

   118. “Risk Management and Minimizing Malpractice Exposure” – UCSD Division of
        Gastroenterology Grand Rounds, San Diego, CA October 16, 2014.

   119. “Identification and Treatment of Excited Delirium Syndrome” - Annual Update on
        Behavioral Emergencies Conference. Scottsdale, Arizona; December 11, 2014.

   120. “Autopsy of an In-Custody Death” – Defense Research Institute Annual Conference, San
        Diego, CA January 30, 2015.

   121. “TASERS: The shocking truth”- 26th Annual Mexico Emergency Medicine Congress.
        Mazatlan, Mexico; February 5, 2015.

   122. “Resuscitation Update: CPR, Hypothermia and new devices” - 26th Annual Mexico
        Emergency Medicine Congress. Mazatlan, Mexico; February 5, 2015.

   123. “Management of Head Trauma” - Segundo Feria Annual de la Salud. Guadalajara, Mexico;
        May 22, 2015.

   124. “Updates in Cardiac Arrest: The ROC Trials” – Segundo Feria Annual de la Salud.
        Guadalajara, Mexico; May 22, 2015.

   125. “Pulmonary Embolism: Evaluation and Treatment”- Segundo Feria Annual de la Salud.
        Guadalajara, Mexico; May 22, 2015.

   126. “Resuscitation Update: CPR, Hypothermia and new devices” – Altitude and Travel Medicine
        Symposium. Cusco, Peru; August 21, 2015.

   127. “Approaches to Stabilization, Transfer and Disposition of Tourist with Multiple Trauma –
        Altitude and Travel Medicine Symposium. Cusco, Peru; August 21, 2015.

   128. “Risk Management and Minimizing Malpractice Exposure” – UCSD Department of
        Orthopedics Grand Rounds, San Diego, CA December 2, 2015.

   129. “Ketamine and EMS” – Annual Update on Behavioral Emergencies Conference. Las Vegas,
        Nevada; December 3, 2015.

   130. “Pulmonary Embolism: Evaluation and Treatment”- 27th Annual Mexico Emergency
        Medicine Congress. Puerto Vallarta, Mexico; February 4, 2016.



                                                 - 106 -
Case 0:16-cv-62215-WPD Document 101-8 Entered on FLSD Docket 07/18/2018 Page 107 of
                                      118



   SELECTED SPEAKING ENGAGEMENTS, continued:

   131. “The importance of CT on the initial evaluation of a trauma patient: ABC or AB-CT ?” – 27th
        Annual Mexico Emergency Medicine Congress. Puerto Vallarta, Mexico; February 4, 2016.

   132. “Risk Management and Minimizing Malpractice Exposure” – UCSD Department of
        Dermatology Grand Rounds, San Diego, CA February 11, 2016.

   133. “Remembering the Provider” – Southern California Association of Health Risk Managers,
        Palm Desert, CA May 4, 2016.

   134. “The ABCs of CPR” –San Miguel Health Fair. San Miguel, Mexico; July 15, 2016.

   135. “Beware of the Medically Fragile Patient”- Special Needs Conference by the Institute for the
        Prevention of In-Custody Deaths, Inc. Las Vegas, Nevada; March 7, 2017.

   136. “Avances en Tromboembolia Pulmonar”- 3rd Annual Congreso Binacional de Medicine de
        urgencias y Trauma, Tijuana, Mexico; May 5, 2017.

   137. “Caso Clinico de Trauma”- 3rd Annual Congreso Binacional de Medicine de urgencias y
        Trauma, Tijuana, Mexico; May 5, 2017.

   138. “Avances en Aeromedicina”- 3rd Annual Congreso Binacional de Medicine de urgencias y
        Trauma, Tijuana, Mexico; May 6, 2017.

   139. “Science of Restraint, Position/Compression and Asphyxia, and Science Behind Asphyxial
        Death” – Police Use of Force in Today’s World. Miami, FL; June 26, 2017.

   140. “Excited Delirium Syndrome and the Risk of Litigation” – California Crisis Intervention
        Team Association Annual Meeting. Costa Mesa, CA; August 24, 2017.

   141. “Medico-legal Issues in the Acutely Agitated Patient” – Coalition on Psychiatric
        Emergencies Pre-Conference. Scottsdale, Arizona, December 15, 2017.

   142. “Updates on Excited Delirium” – Annual Update on Behavioral Emergencies Conference.
        Scottsdale, Arizona, December 15, 2017.




                                                  - 107 -
Case 0:16-cv-62215-WPD Document 101-8 Entered on FLSD Docket 07/18/2018 Page 108 of
                                      118



   APPENDIX B

   Testimony for last 4 years

   Deposition Testimony

   April 10, 2014
   Jason Patti v The State of Arizona, et al.
   Maricopa County Superior Court
   Case # CV2012-011263
   Attorney: Bob Grasso
   Defense: SBO from ingesting a glove

   April 30, 2014
   Estate of William D. Mackey, et al v Horizon Human Services, Inc, et al
   Maricopa County Superior Court
   Case # CV 2011-022086
   Attorney : Marshall Humphrey
   Defense: Choking death

   July 29, 2014
   Irving Marquez v. Eddy County, et al
   U.S. District Court, District of New Mexico
   Case #: 11-CV-838 DJS/WDS
   Attorney: Jonlyn Martinez
   Defense: West Nile Virus Encephalitis in custody delay in diagnosis

   August 13, 2014
   Rickey Burtchett v Lester E. Cox Medical Center, et al
   The Circuit Court of Greene County, Missouri
   Case #: 1231-CV13544
   Attorney: Randy Cowherd
   Defense: Delay in diagnosis of arterial occlusion

   August 23, 2014
   Louis DePasquale, et al v Garrett Emery, M.D.
   District Court Of Utah, Third Judicial District, Salt Lake County
   Case #: 130907530
   Attorney: Pete Summerill
   Plaintiff: Missed perforated duodenal ulcer

   September 2, 2014
   Estate of George Salgado, et al. v. Miami-Dade County, et al.
   U.S. District Court, Southern District of Florida
   Case # 12-cv-24458 King/Torres
   Attorney: Oscar Marrrero
   Defense: In custody death, TASER, ExDS


                                                   - 108 -
Case 0:16-cv-62215-WPD Document 101-8 Entered on FLSD Docket 07/18/2018 Page 109 of
                                      118



   September 30, 2014
   Estate of Ronald H. Armstrong v. Pinehurst, et al.
   Superior Court of North Carolina, Moore County
   Case No. 1:13-CV-407
   Attorney: Dan Hartzog
   Defense: In custody death, TASER, Positional Asphyxia, ExDS

   November 11, 2014
   Brejanea Burley, et al v. County of Los Angeles, et al.
   Superior Court of the State of California, County of Los Angeles, South District
   Case No. TC027341
   Attorney: Tim Kral
   Defense: In custody death, TASER, OC Spray, Asphyxia, ExDS

   March 2, 2015
   Khang Le, et al v. City of El Monte, et al
   Superior Court of the State of California, County of Los Angeles, South District
   Case No. BC497169
   Attorney: Peter Ferguson
   Defense: In custody death, neck hold, positional restraint, TASER

   May 8, 2015
   Laura Wilbanks v Banner Health, et al
   Superior Court For The State Of Alaska Fourth Judicial District At Fairbanks
   Case No. 4FA-13-1917 CI
   Attorney: Mike Stepovich
   Plaintiff: Missed CVA

   June 18, 2015
   Frederick Ronald Thomas, Jr. v. City of Fullerton, et al
   Superior Court of the State of California, County of San Orange
   Case No. 30-2012-00581299
   Attorney: Barry Hassenberg
   Defense: In custody death, TASER, positional restraint

   September 10, 2015
   Bridget Wiseman v. City of Fullerton, et al
   Superior Court of the State of California, County of San Orange
   Case No. 30-2013-00643502-CU-PO-CJC
   Attorney: Barry Hassenberg
   Defense: Hanging at a jail

   October 9, 2015
   Damion Russell v. City of Los Angeles, et al
   U.S. District Court, Central District of California
   Case No. CV14-9433-JFW-(Ex)
   Attorney: Christian Bojorquez
   Defense: In custody death, positional restraint, TASER

                                                   - 109 -
Case 0:16-cv-62215-WPD Document 101-8 Entered on FLSD Docket 07/18/2018 Page 110 of
                                      118




   January 13, 2016
   Michelle Ernst v. Creek County Public Facilities Authority, et al
   U.S District Court, Northern District of Oklahoma
   Case# 14-CV-504-GKF-PJC
   Attorney: Mickey Walsh
   Plaintiff: Jail suicide

   February 12, 2016
   V.W, minor v. City of Vallejo et al
   U.S. District Court, Eastern District of California, Sacramento Div
   Case# 2:12-CV-01629-LKK-AC
   Attorney: Sean Conley
   Defense: In custody death, positional restraint, TASER, neck hold

   February 23, 2016
   Aimee Bevan v. Santa Fe County, et al
   State of New Mexico, County of Santa Fe First Judicial Court
   Case# D-101-CV-2015-00061
   Attorney: Mark Komer
   Defense: In custody death, heroin OD

   July 29, 2016
   Jeremy Leon Bordegaray v. County of Santa Barbara, et al.
   U.S. District Court, Central District of California
   Case No. 2:14-cv-08610-CAS-JPR
   Attorney: Mary Pat Barry
   Defense: Officer involved shooting and AED use

   October 26, 2016
   James Mayfield v. County of Sacramento, et al
   U.S. District Court, Eastern District of California
   Case No. 2.13-cv-2499 JAM AC PS
   Attorney: Van Longyear
   Defense: Jail medical care, spinal injury from suicide attempt

   November 1, 2016
   Donald Liess, Individually and as Successor-In-Interest to Darren Liess, et al vs. City of Los Angeles,
   et al
   U.S. District Court, Central District of California
   Case No. CV14-4374-PA-FFM
   Attorney: Christian Bojorquez
   Defense: In Custody Death, position restraint

   November 11, 2016
   Rose v. Coconino County, et al.
   U.S. District Court, District of Arizona
   Case No. 3:15-cv-08150-PGR

                                                   - 110 -
Case 0:16-cv-62215-WPD Document 101-8 Entered on FLSD Docket 07/18/2018 Page 111 of
                                      118



   Attorney: Milt Hathaway
   Defense: In Custody Death, position restraint, TASER

   December 2, 2016
   Gary Everett and Donald Everett v. Bristol Hospital, et al
   Judicial District of Hartford at Hartford
   Case No: CV 07-60553331-S
   Attorney: Tim Grady
   Defense: Spinal Epidural Abscess

   December 16, 2016
   Juan Isaac Garza v County of Los Angeles, et al.
   Superior Court of the State of California, County of Los Angeles, Central District
   Case No.: BC553211
   Attorney: Lou Pappas
   Defense: Self-induced head injury at jail

   January 9, 2017
   William Mears v. City of Los Angeles
   U. S. District Court, Central District of California
   Case No.: CV15-08441 JAK (AJWx)
   Attorney: Christian Bojorguez
   Defense: In custody death, taser, ExDS, restraint

   January 20, 2017
   Cheryl Marden v. Midland County
   U. S. District Court, Eastern District of Michigan, Northern Division
   Case No. 1:15-CV-14504-TLL-PTM
   Attorney: Patrick Aseltyne
   Defense: In custody death, restraint, spit mask

   February 3, 2017
   Circuit Court of Cape Girardeau County, State of Missouri
   Mary Williams v St. Francis Medical Center
   Case # 15CG-CC00160
   Attorney : Stephen Woodley
   Plaintiff: Missed CVA

   April 13, 2017
   Leon Howard (Boscon) v Town of Bernalillo, et al
   U. S. District Court, Eastern State of New Mexico, County of Sandoval, Thirteenth Judicial District
   Court
   Case No. D-1329-CV-2015-01602
   Attorney: Nick Autio
   Defense: In custody death, meth intoxication, ExDS

   April 26, 2017
   Ryan v County of Los Angeles, et al

                                                     - 111 -
Case 0:16-cv-62215-WPD Document 101-8 Entered on FLSD Docket 07/18/2018 Page 112 of
                                      118



   Superior Court of the State of California for the County of Los Angeles – Western District
   Case No. SC120113
   Attorney: David Weiss
   Defense: EMS cervical spine injury

   May 10, 2017
   Huai Wang et al v SSM Health Care St. Louis, et al.
   Circuit Court of St. Louis County, Missouri Twenty-first Judicial Circuit
   Case No. 15SL-CC00725
   Attorney: Joan Lockwood
   Plaintiff: Delay in treatment of ACS

   July 10, 2017
   Brianna and Bonnie Norman et al v Michael L. Darragh, et al
   Superior Court of the State of California, County of Riverside
   Case No. MCC 1301868
   Attorney: Tom Scutti
   Defense: ExDS death

   July 14, 2017
   KJP, et. al. v County of San Diego, et. al.
   U.S. District Court, Southern District of California
   Case No. 3:15-cv-02692-H-MDD
   Attorney: Kevin Osterberg
   Defense: In-custody death, restraint, TASER

   July 19, 2017
   L.M. by and through her Guardian ad Litem Ashley McCain, et al v. City of Redding, et al
   U.S. District Court, Eastern District of California
   Case No.: 2:14-cv-00767-MCE-AC
   Attorney: Gary Brickwood
   Defense: In-custody death, restraint, TASER

   August 2, 2017
   Alexis Yancy, et al, vs. State of California; California Highway Patrol, et al.
   U.S. District Court, Southern District of California
   Case No.: 15-cv-0580 JM (PCL)
   Attorney: Douglas Baxter
   Defense: In-custody death, restraint, TASER, neck hold

   August 4, 2017
   Cathy Bonner v. County of Los Angeles, et al.
   U.S. District Court, Central District of California
   Case No.: 2:15-CV-08885
   Attorney: Jennifer Jacobs
   Defense: Jail care of Complex Regional Pain Syndrome

   September 25, 2017

                                                    - 112 -
Case 0:16-cv-62215-WPD Document 101-8 Entered on FLSD Docket 07/18/2018 Page 113 of
                                      118



   Tavares Docher vs. Ken J. Mascara, as Sheriff of St. Lucie, et al.
   U.S. District Court, Southern District of Florida
   Case No.: 2:16cv14413
   Attorney: Summer Barranco
   Defense: In-custody cardiac arrest, positional asphyxia

   November 3, 2017
   Amy Manning, Personal Representative of The Estate of Patricia Cameron v. Presbyterian
   County of Santa Fe; First Judicial District
   Case No.: D-101-CV-2016-01392
   Attorney: Walter Melendres
   Defense: Pulmonary embolism

   November 7, 2017
   Foy J. Streetman, et al v Grady Memorial Hospital, et al
   District Court of Grady, State of Oklahoma
   Case No.: CJ-2011-19
   Attorney: David Donchin
   Plaintiff: Premature ED discharge death

   November 20, 2017
   Elaine Bridges v County of Los Angeles, et al
   Superior Court of California, County of Los Angeles South District
   Case No.: TC028303
   Attorney: Keith Wyatt
   Defense: Jail asthmatic death

   December 4, 2017
   C.R. et al. v. City of Antioch et. al. (Death of Rakeem Rucks)
   U.S. District Court Northern District of California
   Case Number: 3:16-cv-03742-EDL
   Attorney: Noah Blechman
   Defense: Restraint death, ExDS

   December 6, 2017
   Kelli Denise Goode, et al v The City of Southaven, et al.
   U.S. District Court Northern District of Mississippi Oxford Division
   Case Number: 3:1-cv-060-DMB-RP
   Attorney: John Goode
   Defense: Restraint death, ExDS

   December 11, 2017
   Robinson v City of Redding, et al.
   U.S. District Court Eastern District of California
   Case Number: 2:14-cv-02910-KJM-KJN
   Attorney: Gary Brickwood
   Defense: Restraint death, spit mask, ExDS


                                                    - 113 -
Case 0:16-cv-62215-WPD Document 101-8 Entered on FLSD Docket 07/18/2018 Page 114 of
                                      118



   December 17, 2017
   Matthew Prunty v State of Louisiana, et al
   Office of Worker’s Compensation, State of Louisiana
   Case Number: 14-00831
   Attorney Robert Dunkelman
   Defense: TASER work comp injury case

   January 19, 2018
   Shainie Lindsey, et. al. v. City of Pasadena, et. al.
   U.S. District Court, Central District of California
   Case Number: CV16-08602 SJO(RAOx)
   Attorney: Kevin Osterberg
   Defense: In-custody death, restraint, TASER

   March 19, 2018
   James Neuroth v. Mendocino County, et al.
   U.S. District Court, Northern District of California
   Case Number: 1:15-cv-03226
   Attorney: Kathleen M. Kunkle
   Defense: In-custody death, restraint




                                                      - 114 -
Case 0:16-cv-62215-WPD Document 101-8 Entered on FLSD Docket 07/18/2018 Page 115 of
                                      118




   Courtroom Testimony

   April 22, 2014
   Carole Krechman v County of Riverside, et al
   U.S. District Court, Central District of California, Riverside County
   Case# CV 10-08705
   Attorney: Bruce Disenhouse
   Defense In custody death, compression asphyxia

   May 13, 2014
   Audry Henry v. City of Los Angeles, et al
   U.S. District Court, Central District of California, Western Division
   Case No. CV13-03151 JAK (MRWx)
   Attorney: Christian Bojorquez
   Defense: In custody death, positional restraint, neck hold, TASER

   August 22, 2014
   Ester Katz, et al v County of Riverside, et al
   Superior Court of the State of California, County of Riverside
   Case #: RIC 1213947
   Attorney: Arthur Cunningham
   Defense: In custody death, OC spray

   October 7, 2014
   Estate of Marvin L. Booker, et al v. City and County of Denver, et al
   U.S. District Court, District of Colorado
   Case No: 11-cv-00645-RBJ-KMT
   Attorney: Tom Rice
   Defense: In custody death, positional restraint, TASER, neck hold

   December 9, 2014
   Brejanea Burley, et al v. County of Los Angeles, et al.
   Superior Court of the State of California, County of Los Angeles, South District
   Case No. TC027341
   Attorney: Louis Pappas
   Defense: In custody death, TASER, Asphyxia, ExDS

   March 3, 2015
   Steve Kassab v. San Diego Police Department, et al
   U.S. District Court, Southern District of California
   Case No. 07cv1071
   Attorney: Stacy Plotkin-Wolff
   Defense: Hyperthermia allegation from being in police car

   October 14, 2015

                                                   - 115 -
Case 0:16-cv-62215-WPD Document 101-8 Entered on FLSD Docket 07/18/2018 Page 116 of
                                      118



   Tevin Bell v. County of San Diego, et al
   U.S. District Court, Southern District of California
   Case No. 14cv1767-H (MDD)
   Attorney: Carra Rhamy
   Defense: TASER, neck hold, blunt force trauma

   October 27, 2015
   Donald Ivy Grand Jury Investigation
   Albany County Supreme Court
   Case No. 1503156
   Attorney David Rossi
   Expert: TASER

   November 4, 2015
   Frederick Ronald Thomas, Jr. v. City of Fullerton, et al 402 Hearing
   Superior Court of the State of California, County of San Orange
   Case No. 30-2012-00581299
   Attorney: Barry Hassenberg
   Defense: In custody death, TASER, positional restraint

   November 4, 2016
   Gladis Herrera, et al., v. City of Ontario, et al.
   Central District of California
   Case No. EDCV 15-1370 JGB (SPx)
   Attorney: Daniel Roberts
   Defense: TASER, gunshot wound to head

   December 14, 2016
   Donald Liess, et al vs. City of Los Angeles, et al
   U.S. District Court, Central District of California
   Case No. CV14-4374-PA-FFM
   Attorney: Christian Bojorquez
   Defense: In Custody Death, position restraint

   May 2, 2017
   Yolanda Erickson v City of Phoenix, et al
   U.S. District Court, District of Arizona
   Case No. 2:14-cv-01942
   Attorney: Kathleen Weineke
   Defense: In Custody Death, taser, neck hold

   May 30, 2017
   Yolanda Erickson v City of Phoenix, et al
   U.S. District Court, District of Arizona
   Case No. 2:14-cv-01942
   Attorney: Kathleen Weineke
   Defense: In Custody Death, taser, neck hold


                                                        - 116 -
Case 0:16-cv-62215-WPD Document 101-8 Entered on FLSD Docket 07/18/2018 Page 117 of
                                      118



   August 3, 2017
   Brianna and Bonnie Norman et al v Michael L. Darragh, et al 402 hearing
   Superior Court of the State of California, County of Riverside
   Case No. MCC 1301868
   Attorney: Tom Scutti
   Defense: ExDS death

   November 9, 2017
   William Mears v. City of Los Angeles
   U. S. District Court, Central District of California
   Case No.: CV15-08441 JAK (AJWx)
   Attorney: Christian Bojorguez
   Defense: In custody death, taser, ExDS, restraint

   January 23, 2018
   Alexis Yancy, et al, vs. State of California; California Highway Patrol, et al.
   U.S. District Court, Southern District of California
   Case No.: 15-cv-0580 JM (PCL)
   Attorney: Douglas Baxter
   Defense: TASER, Restraint

   March 12, 2017
   Amy Manning, Personal Representative of The Estate of Patricia Cameron v. Presbyterian
   County of Santa Fe; First Judicial District
   Case No.: D-101-CV-2016-01392
   Attorney: Walter Melendres
   Defense: Pulmonary embolism

   March 22, 2018
   Nevada v Kenneth Lopera Grand Jury Investigation
   Justice Court, Las Vegas Township
   Case No. 1F10146X
   Attorney David Rogers
   Expert: neck holds




                                                     - 117 -
Case 0:16-cv-62215-WPD Document 101-8 Entered on FLSD Docket 07/18/2018 Page 118 of
                                      118



   APPENDIX C
                             Gary Michael Vilke, MD, FACEP, FAAEM




                                                Fee Schedule


   FEE SCHEDULE
   For case material review, research, report writing, written communication, deposition and trial
   preparation, and telephonic or in person meetings: $500.00/ hour
   A retainer for 3 hours ($1500.00) may be requested in advance.

   For deposition and trial testimony: $1000.00/hour. Deposition fees are to be paid at the time of
   deposition or in advance.


   TRAVEL
   If travel out of county (more than 100 miles) for deposition or trial is required:

          Business class airline tickets to and from to be paid for by the requesting firm/agency.

          Hotel accommodations to be paid for by the requesting firm/agency.

          Transportation to and from the airport in the host city to be paid for by the requesting
          firm/agency.

   Time for travel will be billed at the standard review rate up to 4 hours each direction. The time
   starts at departure from home until arrival in host city, and from departure from host city until
   arrival home.

   If travel is within the county (less than 100 miles) for deposition or trial is required:

   Time for travel will be billed at the standard review rate up to 4 hours each direction. The time
   starts at departure from home until arrival at the depo/trial site, and from departure until arrival
   home.

   CANCELLATION:
   A cancellation fee of $1500.00 will be charged if a trial or deposition is cancelled with less than 48
   hours notice from the agreed upon scheduled time within San Diego County, or within 72 hours
   outside of San Diego County.




                                                     - 118 -
